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                                      EXHIBIT A

    (Detailed Description, by Project Category, of Services Rendered During Fee Period)




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                                                               Troutman Pepper Hamilton Sanders LLP Time Entry Detail by Task Code for Period: 7/1/23 to 7/31/23



Date       TKPR Name                   Hours     Amount   Task Code Narrative
  7/3/2023 Molitor, Monica A.             0.40 $   156.00 B110      Update critical dates calendar
  7/3/2023 Molitor, Monica A.             0.10 $    39.00 B110      Email to E. Meltzer, M. McLaughlin Smith re updated critical dates calendar
  7/4/2023 McLaughlin Smith, Marcy J      0.10 $    84.00 B110      Review M. Molitor email re: critical dates calendar
  7/5/2023 Molitor, Monica A.             0.30 $   117.00 B110      Update critical dates calendar
  7/6/2023 McLaughlin Smith, Marcy J      0.10 $    84.00 B110      Telephone call with E. Meltzer re: case go-forward status
  7/6/2023 McLaughlin Smith, Marcy J      0.10 $    84.00 B110      Email M. Molitor re: case go-forward status
  7/6/2023 Molitor, Monica A.             0.20 $    78.00 B110      Update critical dates caledar
  7/7/2023 Molitor, Monica A.             0.10 $    39.00 B110      Email to A. Smith re processing of respective Reliable invoices re hearing transcript, production
  7/7/2023 Molitor, Monica A.             0.20 $    78.00 B110      Email exchanges with L. Taylor re Reliable invoices, review invoices
 7/10/2023 Molitor, Monica A.             0.20 $    78.00 B110      Update critical dates calendar
 7/10/2023 Molitor, Monica A.             0.20 $    78.00 B110      Further update critical dates calendar
 7/11/2023 Meltzer, Evelyn J              0.10 $   100.00 B110      Updating TPHS action item list
 7/11/2023 Molitor, Monica A.             0.10 $    39.00 B110      Update critical dates calendar
 7/12/2023 McLaughlin Smith, Marcy J      0.10 $    84.00 B110      Review M. Ward email re: Administration Services' request for removal from service list
 7/12/2023 Molitor, Monica A.             0.20 $    78.00 B110      Update critical dates calendar
 7/13/2023 McLaughlin Smith, Marcy J      0.10 $    84.00 B110      Emails with L. Scott re: Administration Services' request for removal from service list
 7/13/2023 Meltzer, Evelyn J              0.50 $   500.00 B110      Speaking with H. Murphy and C. Condon re next steps in case
 7/13/2023 Molitor, Monica A.             0.10 $    39.00 B110      Update critical dates calendar
 7/14/2023 McLaughlin Smith, Marcy J      0.10 $    84.00 B110      Emails with M. Molitor re: various deadlines for critical dates calendar
 7/14/2023 McLaughlin Smith, Marcy J      0.10 $    84.00 B110      Review M. Molitor email re: critical dates calendar
 7/14/2023 McLaughlin Smith, Marcy J      0.10 $    84.00 B110      Review E. Meltzer email to MK team re: August 16 pending matters
 7/14/2023 Meltzer, Evelyn J              0.10 $   100.00 B110      Email to M. Molitor re case calendar
 7/14/2023 Meltzer, Evelyn J              0.20 $   200.00 B110      Updating TPHS action item list
 7/14/2023 Meltzer, Evelyn J              0.20 $   200.00 B110      Email to H. Murphy re action item list
 7/14/2023 Meltzer, Evelyn J              0.20 $   200.00 B110      Emails to M. Molitor re case calendar
 7/14/2023 Meltzer, Evelyn J              0.10 $   100.00 B110      Reviewing case calendar
 7/14/2023 Meltzer, Evelyn J              0.10 $   100.00 B110      Email to M. Molitor re case calendar
 7/14/2023 Molitor, Monica A.             0.90 $   351.00 B110      Update critical dates calendar
 7/14/2023 Molitor, Monica A.             0.10 $    39.00 B110      Email to E. Meltzer, M. McLaughlin Smith re current critical dates calendar
 7/14/2023 Molitor, Monica A.             0.10 $    39.00 B110      Email from E. Meltzer . Meltzer re TPHS signoff on current critical dates calendar
 7/14/2023 Molitor, Monica A.             0.10 $    39.00 B110      Email to clients, Debtors' professionals, noticing agent re current critical dates calendar
 7/14/2023 Molitor, Monica A.             0.30 $   117.00 B110      Email exchanges with E. Meltzer, M. McLaughlin Smit re action item list, updates to same
 7/14/2023 Molitor, Monica A.             0.10 $    39.00 B110      Email to noticing agent re service for 7.14
 7/17/2023 Molitor, Monica A.             0.10 $    39.00 B110      Update critical dates calendar
 7/18/2023 Molitor, Monica A.             0.20 $    78.00 B110      Update critical dates calendar
 7/19/2023 Molitor, Monica A.             0.20 $    78.00 B110      Update critical dates calendar
 7/20/2023 Meltzer, Evelyn J              0.10 $   100.00 B110      Email to M. Molitor re case calendar
 7/20/2023 Molitor, Monica A.             0.20 $    78.00 B110      Review Reliable invoices re hearing transcripts, binder production/delivery to chambers
 7/21/2023 Molitor, Monica A.             0.10 $    39.00 B110      Email to A. Smith re processing of respective Reliable invoices re hearing transcripts, binder production/delivery to chambers
 7/21/2023 Molitor, Monica A.             0.30 $   117.00 B110      Update critical dates calendar
 7/24/2023 Meltzer, Evelyn J              0.10 $   100.00 B110      Email to KCC re change of address for creditor
 7/24/2023 Meltzer, Evelyn J              0.10 $   100.00 B110      Updating TPHS action item list
 7/24/2023 Molitor, Monica A.             0.60 $   234.00 B110      Update critical dates calendar
 7/24/2023 Molitor, Monica A.             0.10 $    39.00 B110      Email exchange with D. Mathur re WL Bank server adjustment re adv. proc. Vorel v. Christmas Tree Shops, LLC 23-50446 ECF notifications to be forwarded to co-
                                                                    counsel
 7/25/2023 McLaughlin Smith, Marcy J      0.10 $    84.00 B110      Review M. Molitor email re: critical dates calendar
 7/25/2023 Meltzer, Evelyn J              0.20 $   200.00 B110      Email to M. Smith and M. Molitor re motions scheduled for August 16
 7/25/2023 Molitor, Monica A.             0.40 $   156.00 B110      Update critical dates calendar
 7/25/2023 Molitor, Monica A.             0.10 $    39.00 B110      Email to E. Meltzer, M. McLaughlin Smith re critical dates calendar for TPHS review




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                                                          Troutman Pepper Hamilton Sanders LLP Time Entry Detail by Task Code for Period: 7/1/23 to 7/31/23



 7/26/2023 Meltzer, Evelyn J            0.10 $     100.00 B110     Reviewing critical dates calendar
 7/26/2023 Meltzer, Evelyn J            0.60 $     600.00 B110     Call with CTS and co-counsel re wind-down plan
 7/26/2023 Molitor, Monica A.           0.10 $      39.00 B110     Email from M. McLaughlin Smith re critical dates calendar, motion to extend removal deadline
 7/26/2023 Molitor, Monica A.           0.10 $      39.00 B110     Email from E. Meltzer re critical dates calendar
 7/26/2023 Molitor, Monica A.           0.20 $      78.00 B110     Update critical dates calendar
 7/26/2023 Molitor, Monica A.           0.10 $      39.00 B110     Email to clients, co-counsel, SSG team, FAAN team, noticing agent, TPHS team re current critical dates calendar
 7/27/2023 McLaughlin Smith, Marcy J    0.30 $     252.00 B110     Telephone call with E. Meltzer re: next steps
 7/27/2023 Meltzer, Evelyn J            0.10 $     100.00 B110     Email to M. Molitor re critical dates calendar
 7/27/2023 Molitor, Monica A.           0.40 $     156.00 B110     Update critical dates calendar
 7/28/2023 Molitor, Monica A.           0.20 $      78.00 B110     Update critical dates calendar
 7/28/2023 Molitor, Monica A.           0.20 $      78.00 B110     Further update critical dates calendar
 7/31/2023 Molitor, Monica A.           0.30 $     117.00 B110     Update critical dates calendar
                                       11.60 $   6,772.00 B110     Claims Administration
  7/4/2023 Meltzer, Evelyn J            0.20 $     200.00 B112     Email to M. Pogoda re creditor inquiries
  7/6/2023 Meltzer, Evelyn J            0.10 $     100.00 B112     Email to creditor re removal from mailing list
 7/20/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B112     Review and respond to R. Chan, stoneage, email re: notice address
                                        0.40 $     384.00 B112     General Creditor Inquiries
  7/4/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Review C. Holzaepfel email re: York side letter request re: closing sale
  7/5/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Further telephone call with E. Meltzer re: bidding procedures/DIP status updates
  7/5/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Review V. Moody email re: side letter request re: closing store notice
  7/5/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Review H. Murphy, C. Condon and E. Meltzer emails re: bid procedures status update
  7/5/2023 Meltzer, Evelyn J            0.50 $     500.00 B130     Speaking with L. Roglen re bidding procedures
  7/5/2023 Meltzer, Evelyn J            0.10 $     100.00 B130     Email to H. Murphy re bidding procedures
  7/5/2023 Meltzer, Evelyn J            0.30 $     300.00 B130     Speaking with potential bidder
  7/5/2023 Molitor, Monica A.           0.10 $      39.00 B130     Email from E. Meltzer confirming extended response deadline for certain landlords (represented by Ballard) re bid procedures motion
  7/6/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Telephone call with E. Meltzer re: gift card termination notice
  7/6/2023 McLaughlin Smith, Marcy J    0.20 $     168.00 B130     Review customer programs and store closing final orders re: gift card termination notice
  7/6/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Emails with C. Condon, E. Meltzer and counsel to certain landlords re: comments to bid procedures
  7/6/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Review E. Meltzer email re: call with L. Kotler re: limited objection re: additional closing store notice
  7/6/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Emails with T. Kohl and E. Meltzer re: sale update
  7/6/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Review V. Moody email re: sale guidelines re: two store closing locations
  7/6/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Email M. Desgrosseilliers re: V. Moody email re: sale guidelines re: two store closing locations
  7/6/2023 McLaughlin Smith, Marcy J    0.20 $     168.00 B130     Telephone call with L. O'Farrell re: gift card termination notice
  7/6/2023 McLaughlin Smith, Marcy J    0.20 $     168.00 B130     Emails with L. O'Farrell re: gift card termination notice
  7/6/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Emails with G. Galardi, J. Mayer and E. Meltzer re: draft gift card termination notice
  7/6/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Emails with KCC team and M. Molitor re: service of gift card program termination notice
  7/6/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B130     Emails with Committee counsel re: draft gift card termination notice
  7/6/2023 Meltzer, Evelyn J            0.20 $     200.00 B130     Reviewing email from L. Roglen re comments to bid procedures
  7/6/2023 Meltzer, Evelyn J            0.10 $     100.00 B130     Email to landlord re comments to bid procedures
  7/6/2023 Meltzer, Evelyn J            0.20 $     200.00 B130     Speaking with party interested in acquiring leases
  7/6/2023 Meltzer, Evelyn J            0.10 $     100.00 B130     Reviewing Coastal One Properties re objection to GOB sales
  7/6/2023 Meltzer, Evelyn J            0.10 $     100.00 B130     Speaking with L. Kothler re GOB sales
  7/6/2023 Meltzer, Evelyn J            0.10 $     100.00 B130     Email to H. Murphy, C. Condon, et al. re GOB sales
  7/6/2023 Meltzer, Evelyn J            0.10 $     100.00 B130     Speaking with M. Smith re ceasing gift card program
  7/6/2023 Meltzer, Evelyn J            0.20 $     200.00 B130     Reviewing landlord's comments to bidding procedures
  7/6/2023 Meltzer, Evelyn J            0.10 $     100.00 B130     Email to L. Roglen re comments to bidding procedures
  7/6/2023 Meltzer, Evelyn J            0.10 $     100.00 B130     Email to SSG re sale of leases
  7/6/2023 Meltzer, Evelyn J            0.10 $     100.00 B130     Email to landlord re bids for just leases
  7/6/2023 Meltzer, Evelyn J            0.10 $     100.00 B130     Reviewing landlord objection to GOB sale notice
  7/6/2023 Meltzer, Evelyn J            0.10 $     100.00 B130     Reviewing Lynnfield Plaza objection to GOB sales




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                                                       Troutman Pepper Hamilton Sanders LLP Time Entry Detail by Task Code for Period: 7/1/23 to 7/31/23



  7/6/2023 Meltzer, Evelyn J           0.10 $   100.00 B130     Revising notice of termination of gift cards
  7/6/2023 Meltzer, Evelyn J           0.10 $   100.00 B130     Email to L. O'Farrell re termination of gift cards
  7/6/2023 Molitor, Monica A.          0.10 $    39.00 B130     Obtain, review Blumenfeld Development Group, et al. objection to bid procedures motion
  7/6/2023 Molitor, Monica A.          0.10 $    39.00 B130     Obtain, review objection of Coastal One Properties to DIP Termination Event/GOB notice
  7/6/2023 Molitor, Monica A.          0.10 $    39.00 B130     Confer with E. Meltzer re gift card notice for filing 7.6, service of same
  7/6/2023 Molitor, Monica A.          0.10 $    39.00 B130     Obtain, review objection of Trustees of Lynnfield Plaza Realty Trust to DIP Termination/GOB notice
  7/6/2023 Molitor, Monica A.          0.40 $   156.00 B130     Emails from E. Meltzer, C. Condon re M. McLaughlin Smith, L. O'Farrell re gift card notice
  7/6/2023 Molitor, Monica A.          0.10 $    39.00 B130     Finalize gift card notice for efiling
  7/6/2023 Molitor, Monica A.          0.10 $    39.00 B130     Obtain as-filed gift card notice
  7/6/2023 Molitor, Monica A.          0.20 $    78.00 B130     Email exchanges with noticing agent, co-counsel, E. Meltzer, M. McLaughlin Smith re service of gift card notice
  7/6/2023 Molitor, Monica A.          0.10 $    39.00 B130     Efile gift card notice
  7/6/2023 Molitor, Monica A.          0.20 $    78.00 B130     Email exchanges with E. Meltzer, M. McLaughlin Smith re gift card notice
  7/7/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review T. Kohl email re: term sheet
  7/7/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Emails with KCC team re: service of gift card program termination notice
  7/7/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Emails with Company, SSG, and MK teams re: term sheet proposal
  7/9/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Emails with Company, SSG and MK teams re: mark-up re: potential term sheet
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Emails with Company, SSG and MK teams re: mark-up re: potential term sheet
 7/10/2023 Meltzer, Evelyn J           0.10 $   100.00 B130     Reviewing revised term sheet
 7/10/2023 Meltzer, Evelyn J           0.10 $   100.00 B130     Email to T. Kohl re term sheet
 7/10/2023 Meltzer, Evelyn J           0.10 $   100.00 B130     Email to J. Sullivan re GOB sales at stores
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review T. Kohl and E. Meltzer emails re: potential IP sale interest
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review T. Kohl re: revised potential sale terms
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review M. Salkovitz email re: potential 7/31 rejected store locations
 7/11/2023 Meltzer, Evelyn J           0.10 $   100.00 B130     Reviewing email from T. Kohl re revised term sheet
 7/12/2023 Molitor, Monica A.          0.20 $    78.00 B130     Email exchanges with E. Meltzer, M. McLaughlin Smith re GOB budget spreadsheet
 7/12/2023 Molitor, Monica A.          0.10 $    39.00 B130     Confer with E. Meltzer re updated GOB budget
 7/15/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review T. Kohl email re: potential interest in remnant assets
 7/17/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review T. Kohl and E. Meltzer emails re: potential interest in remnant assets
 7/17/2023 McLaughlin Smith, Marcy J   0.20 $   168.00 B130     Telephone call with E. Meltzer re: store closing, rejection motion, and potential sale offer
 7/17/2023 Meltzer, Evelyn J           0.30 $   300.00 B130     Reviewing private sale order
 7/17/2023 Meltzer, Evelyn J           0.10 $   100.00 B130     Email to T. Kohl re private sale order
 7/17/2023 Meltzer, Evelyn J           0.10 $   100.00 B130     Email to T. Kohl re sale status
 7/17/2023 Meltzer, Evelyn J           0.20 $   200.00 B130     Speaking with T. Kohl re sale status
 7/18/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review T. Kohl and E. Meltzer emails re: sale update
 7/18/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Emails with M. Desgrosseilliers and E. Meltzer re: distribution center lease agreement
 7/18/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review E. Meltzer email to Company team re: distribution center lease agreement
 7/18/2023 Meltzer, Evelyn J           0.20 $   200.00 B130     Emails to T. Kohl re sale
 7/19/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review and respond to A. Lamm and E. Meltzer emails re: July closing locations
 7/19/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Emails with M. Desgrosseilliers and E. Meltzer re: distribution center lease agreement
 7/19/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review J. Webb email w/ attachment re: additional July closing locations
 7/19/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review T. Kohl and E. Meltzer emails re: sale status
 7/19/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Telephone call with E. Meltzer re: Parampara admin expense motion and sale status
 7/19/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Email to and from M. Kaufman re: distribution center lease agreement
 7/19/2023 Meltzer, Evelyn J           0.10 $   100.00 B130     Email to T. Kohl re sale update
 7/19/2023 Meltzer, Evelyn J           0.30 $   300.00 B130     Speaking with T. Kohl re sale update
 7/20/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review T. Kohl email re: sale update
 7/20/2023 Meltzer, Evelyn J           0.10 $   100.00 B130     Reviewing emails from T. Kohl re sale of IP and leases
 7/21/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review E. Meltzer email w/ attachments re: sample private sale motions
 7/21/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Emails with T. Kohl and E. Meltzer re: sale updates
 7/21/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B130     Review R. Parisi and E. Meltzer emails re: letter of intent for remnant assets and motion to approve same




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                                                           Troutman Pepper Hamilton Sanders LLP Time Entry Detail by Task Code for Period: 7/1/23 to 7/31/23



 7/21/2023 Meltzer, Evelyn J            0.20 $      200.00 B130     Emails to T. Kohl re status of case
 7/21/2023 Meltzer, Evelyn J            0.30 $      300.00 B130     Email to M. Smith re private sale motions
 7/21/2023 Meltzer, Evelyn J            0.10 $      100.00 B130     Email to B. Ayers re GOB sales
 7/21/2023 Meltzer, Evelyn J            0.10 $      100.00 B130     Email to R. Parisi re private sale motion
 7/24/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B130     Review T. Kohl and E. Meltzer emails re: sale update
 7/24/2023 Meltzer, Evelyn J            0.20 $      200.00 B130     Emails to T. Kohl re sale status
 7/24/2023 Meltzer, Evelyn J            0.20 $      200.00 B130     Call with State of Vermont re GOB sales
 7/27/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B130     Review E. Meltzer email re: Hilco sale update and go-forward plan
 7/27/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B130     Review E. Meltzer email re: potential lease and IP sale
 7/27/2023 Meltzer, Evelyn J            0.10 $      100.00 B130     Leaving a message for T. Kohl re sale status
 7/27/2023 Meltzer, Evelyn J            0.50 $      500.00 B130     Speaking with SSG re sale of IP and leases
 7/27/2023 Meltzer, Evelyn J            0.10 $      100.00 B130     Email to S. Fox re sale of leases
 7/31/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B130     Emails with M. Salkovitz and E. Meltzer re: potential sale procedures
 7/31/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B130     Review M. Desgrosseilliers email w/ attachment re: Vermont AG letter re: product pricing
                                       13.10 $   11,157.00 B130     Asset Disposition
  7/3/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B140     Emails with MK and internal teams re: status update re: Soundwater stay relief objection
  7/3/2023 Meltzer, Evelyn J            0.10 $      100.00 B140     Email to C. Condon re objection to Southwater stay relief motion
  7/3/2023 Meltzer, Evelyn J            0.10 $      100.00 B140     Reviewing Southwater proposed order for stay relief
  7/3/2023 Molitor, Monica A.           0.40 $      156.00 B140     Email exchanges with E. Meltzer, M. McLaughlin, C. Condon, L. O'Farrell re status of resolution of Soundwater lift stay motion, Debtor extension of response
                                                                    deadline to 7.4 @ 12:00 pm
  7/4/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B140     Emails with MK and internal teams re: objection re: Soundwater stay relief motion
  7/4/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B140     Review M. Molitor email re: service re: objection re: Soundwater stay relief motion
  7/4/2023 Meltzer, Evelyn J            0.20 $      200.00 B140     Email to C. Condon re Southwater stay relief motion
  7/4/2023 Meltzer, Evelyn J            0.20 $      200.00 B140     Reviewing objection re Southwater stay relief motion
  7/4/2023 Meltzer, Evelyn J            0.10 $      100.00 B140     Speaking with M. Molitor re Southwater stay relief motion
  7/4/2023 Molitor, Monica A.           0.10 $       39.00 B140     Call with E. Meltzer re edits to objection to Soundwater lift stay motion
  7/4/2023 Molitor, Monica A.           0.10 $       39.00 B140     Efile objection to Soundwater lift stay motion
  7/4/2023 Molitor, Monica A.           0.10 $       39.00 B140     Email to noticing agent re email and 1st class mail service of objection to Soundwater lift stay motion
  7/4/2023 Molitor, Monica A.           0.10 $       39.00 B140     Perfect email service of objection to Soundwater lift stay motion on counsel for Soundwater
  7/4/2023 Molitor, Monica A.           0.20 $       78.00 B140     Revise objection to Soundwater lift stay motion, finalize for efiling
  7/4/2023 Molitor, Monica A.           0.30 $      117.00 B140     Email exchanges with E. Meltzer, M. McLaughlin Smith, C. Condon, L. O'Farrell re objection to Soundwater lift stay motion
 7/11/2023 Molitor, Monica A.           0.10 $       39.00 B140     Emails from E. Meltzer, C. Condon re resolution of Soundwater lift stay matter
 7/13/2023 Molitor, Monica A.           0.10 $       39.00 B140     Obtain, review Levin Properties, L.P lift stay motion
 7/14/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B140     Review and respond to M. DesGrosseillers re: Levin stay relief motion
 7/17/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B140     Conference call with M. Desgrosseilliers and E. Meltzer re: Levin stay relief motion re: Bridgewater, NJ
 7/17/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B140     Emails with M. Desgrosseilliers and E. Meltzer re: Levin stay relief motion re: Bridgewater, NJ
 7/17/2023 Meltzer, Evelyn J            0.20 $      200.00 B140     Reviewing Levin Properties motion to lift stay to terminate lease
 7/17/2023 Meltzer, Evelyn J            0.20 $      200.00 B140     Call with M. Desgrosseillers re Properties motion to lift stay to terminate lease
 7/17/2023 Meltzer, Evelyn J            0.10 $      100.00 B140     Email to M. Desgrosseillers re Properties motion to lift stay to terminate lease
 7/25/2023 Molitor, Monica A.           0.10 $       39.00 B140     Obtain, review Bank of America lift stay motion, notice re same
 7/26/2023 Meltzer, Evelyn J            0.20 $      200.00 B140     Email to Levin Properties re stay relief motion
 7/26/2023 Molitor, Monica A.           0.10 $       39.00 B140      Review docket re Soundwater lift stay motion, status of order re same
 7/26/2023 Molitor, Monica A.           0.20 $       78.00 B140     Email exchanges with E. Meltzer, M. McLaughlin Smith re Soundwater lift stay motion, status of order re same
 7/31/2023 Molitor, Monica A.           0.10 $       39.00 B140     Email from L. O'Farrell re resolution of Soundwater Dartmouth, LLC for Relief from the Automatic Stay, COC to be filed re order for same
                                        4.00 $    2,684.00 B140     Relief from Stay - Adequate Protection Proceedings
  7/2/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B155     Review M. Vesper email re: Ballard client list re: informal responses re: 7/7 hearing agenda
  7/3/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B155     Emails with M. Salkovitz, H. Murphy and E. Meltzer re: 7/7 hearing status
  7/3/2023 Meltzer, Evelyn J            0.10 $      100.00 B155     Email to M. Salkovitz re 7/7/23 hearing
  7/3/2023 Molitor, Monica A.           0.10 $       39.00 B155     Email from M. Vesper re landlords represented by Ballard Spahr re informal comments to motion to extend deadline to assume or reject leases, reflection of same
                                                                    on 7.7 hearing agenda
  7/3/2023 Molitor, Monica A.           0.20 $      78.00 B155      Prepare 7.7 hearing binder cover



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  7/3/2023 Molitor, Monica A.          0.30 $   117.00 B155     Prepare special service list re 7.7 hearing agenda
  7/3/2023 Molitor, Monica A.          0.60 $   234.00 B155     Revise 7.7 hearing agenda
  7/3/2023 Molitor, Monica A.          0.10 $    39.00 B155     Email to E. Meltzer, M. McLaughlin Smith re updated 7.7 hearing agenda
  7/4/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Review C. Condon and E. Meltzer emails re: 7/7 hearing exhibit and witness list
  7/4/2023 McLaughlin Smith, Marcy J   0.20 $   168.00 B155     Review and revise 7/7 hearing agenda
  7/4/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with E. Meltzer and M. Molitor re: 7/7 hearing agenda
  7/4/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Email to H. Murphy and C. Condon re witness and exhibit list for 7/7/23 hearing
  7/4/2023 Molitor, Monica A.          0.10 $    39.00 B155     Email to Reliable re preparation of 7.7 matters going forward binder, delivery to Judge Horan's chambers
  7/5/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Review C. Condon and E. Meltzer emails re: 7/7 hearing exhibit and witness list
  7/5/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Review and revise 7/7 witness and exhibit list
  7/5/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with MK and internal team re: 7/7 draft hearing agenda
  7/5/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Review M. Desgrosseilliers email re: 7/7 hearing exhibits
  7/5/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Telephone call with E. Meltzer re: chambers' request for anticipated duration re: 7/7 hearing
  7/5/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with KCC team and M. Molitor re: service re: agenda, witness/exhibit list and Soundwater stay relief objection
  7/5/2023 McLaughlin Smith, Marcy J   0.40 $   336.00 B155     Review and revise 7/7 hearing agenda
  7/5/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Review amended 7/7 hearing agenda
  7/5/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with E. Meltzer and M. Molitor re: amended 7/7 hearing agenda
  7/5/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with E. Meltzer and M. Molitor re: 7/7 hearing agenda
  7/5/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Email to C. Condon re witness list
  7/5/2023 Meltzer, Evelyn J           0.50 $   500.00 B155     Revising 7/7/23 agenda
  7/5/2023 Meltzer, Evelyn J           0.40 $   400.00 B155     Emails to M. Molitor re revised 7/7/23 agenda
  7/5/2023 Meltzer, Evelyn J           0.20 $   200.00 B155     Speaking with M. Smith re 7/7/23 hearing
  7/5/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Reviewing witness list
  7/5/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Email to M. Smith re witness list
  7/5/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Email to C. Condon re exhibits for hearing
  7/5/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Email to H. Murphy, C. Condon and L. O'Farrell re 7/7/23 hearing agenda
  7/5/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Email to L. O'Farrell re estimated length of hearing
  7/5/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Email to Court re estimated length of hearing
  7/5/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Speaking with M. Smith re estimated length of hearing
  7/5/2023 Meltzer, Evelyn J           0.20 $   200.00 B155     Speaking with M. Smith re amended hearing agenda
  7/5/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Email to M. Smith re amended hearing agenda
  7/5/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Reviewing amended agenda
  7/5/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Speaking with M. Molitor re amended agenda
  7/5/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Speaking with M. Smith re amended agenda
  7/5/2023 Meltzer, Evelyn J           0.30 $   300.00 B155     Reviewing amended agenda
  7/5/2023 Meltzer, Evelyn J           0.20 $   200.00 B155     Emails to M. Molitor re amended agenda
  7/5/2023 Molitor, Monica A.          0.20 $    78.00 B155     Review docket, obtain notice of appearance, admission information re counsel counsel for North Conway Plaza, LLC and Vickerry Realty Co. Trust re informal
                                                                comments to store closing agenda matter
  7/5/2023 Molitor, Monica A.          0.10 $    39.00 B155     Email to D. Gadson re as-filed 7.7 hearing agenda
  7/5/2023 Molitor, Monica A.          0.10 $    39.00 B155     Finalize Debtors' witness/exhibit list re 7.7 hearing for efiling
  7/5/2023 Molitor, Monica A.          0.20 $    78.00 B155     Update special service parties list re 7.7 hearing agenda
  7/5/2023 Molitor, Monica A.          0.40 $   156.00 B155     Prepare amended agenda re 7.7 hearing
  7/5/2023 Molitor, Monica A.          0.40 $   156.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith re amended agenda re 7.7 hearing
  7/5/2023 Molitor, Monica A.          0.70 $   273.00 B155     Email exchanges with Reliable re 7.7 hearing binder for submission to Court, updates to same
  7/5/2023 Molitor, Monica A.          0.20 $    78.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith re informal responses received by counsel for North Conway Plaza, LLC and Vickerry Realty Co. Trust re store
                                                                closing notice
  7/5/2023 Molitor, Monica A.          0.40 $   156.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith, co-counsel re witness/exhibit list for 7.7 hearing, revisions to same
  7/5/2023 Molitor, Monica A.          0.10 $    39.00 B155     Finalize 7.7 hearing agenda for efiling
  7/5/2023 Molitor, Monica A.          0.10 $    39.00 B155     Efile 7.7 hearing agenda
  7/5/2023 Molitor, Monica A.          0.10 $    39.00 B155     Obtain as-filed 7.7 hearing agenda
  7/5/2023 Molitor, Monica A.          0.10 $    39.00 B155     Email to Reliable re as-filed 7.7 hearing agenda for chambers hearing binder update



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  7/5/2023 Molitor, Monica A.          0.10 $      39.00 B155     Efile Debtors' witness/exhibit list re 7.7 hearing
  7/5/2023 Molitor, Monica A.          0.10 $      39.00 B155     Obtain as-filed Debtors' witness/exhibit list re 7.7 hearing
  7/5/2023 Molitor, Monica A.          0.20 $      78.00 B155     Email exchanges with noticing agent re service of Debtors' witness/exhibit list and 7.7 hearing agenda
  7/5/2023 Molitor, Monica A.          0.10 $      39.00 B155     Confer with E. Meltzer re 7.7 hearing amended agenda, counsel binders re same
  7/5/2023 Molitor, Monica A.          0.20 $      78.00 B155     Email exchanges with co-counsel re amended agenda re 7.7 hearing
  7/5/2023 Molitor, Monica A.          0.10 $      39.00 B155     Obtain as-filed amended agenda
  7/5/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email exchanges with noticing agent re service of amended agenda re 7.7 hearing
  7/5/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to D. Gadson re amended agenda, additional pleadings, confirming delivery of hard copy binder supplements the morning of 7/6
  7/5/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to clients, co-counsel, FAAN team, SSG Advisors team, E. Meltzer, M. McLaughlin re amended agenda, additional pleadings listed on same
  7/5/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to B. Campbell re 7.7 hearing binder supplements to print for delivery to chambers
  7/5/2023 Molitor, Monica A.          0.10 $      39.00 B155     Finalize amended agenda re 7.7 hearing for filing
  7/5/2023 Molitor, Monica A.          0.10 $      39.00 B155     Efile amended agenda
  7/5/2023 Molitor, Monica A.          1.40 $     546.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith, co-counsel re 7.7 hearing agenda, status of matters re same
  7/6/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Emails with E. Meltzer and M. Molitor re: chambers' update request re: hearing and exhibit binders
  7/6/2023 McLaughlin Smith, Marcy J   0.20 $     168.00 B155     Telephone call with E. Meltzer re: chambers' update request re: hearing and exhibit binders
  7/6/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Telephone call with M. Molitor re: exhibit binders
  7/6/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Emails with D. Gadson and E. Meltzer re: chambers' update re: hearing and exhibit binders
  7/6/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Review second amended 7/7 hearing agenda
  7/6/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Emails with MK and internal teams re: second amended 7/7 hearing agenda
  7/6/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Emails with E. Meltzer and M. Molitor re: third amended 7/7 hearing agenda
  7/6/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Review KCC team and M. Molitor emails re: service re: second amended 7/7 hearing agenda
  7/6/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Email to H. Murphy re second amended agenda
  7/6/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Email to M. Molitor re delivery of documents to Court
  7/6/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Speaking with M. Molitor re hearing binder
  7/6/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Speaking with M. Smith re hearing binder
  7/6/2023 Meltzer, Evelyn J           0.30 $     300.00 B155     Emails to Court re hearing binders
  7/6/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Email to M. Molitor re second amended agenda
  7/6/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Speaking with M. Molitor re second amended agenda
  7/6/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Email to C. Condon re second amended agenda
  7/6/2023 Meltzer, Evelyn J           0.20 $     200.00 B155     Speaking with B. Hackman re 7/7/23 hearing
  7/6/2023 Meltzer, Evelyn J           0.20 $     200.00 B155     Revising second amended agenda
  7/6/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Speaking with M. Molitor re third amended agenda
  7/6/2023 Meltzer, Evelyn J           0.40 $     400.00 B155     Speaking with M. Molitor re 7/7/23 hearing
  7/6/2023 Meltzer, Evelyn J           3.00 $   3,000.00 B155     Meeting with client to prepare for 7/7/23 hearing
  7/6/2023 Molitor, Monica A.          0.40 $     156.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith, B. Campbell re preparation, delivery of Debtor exhibit binder to chambers
  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Confer with M. McLaughlin Smith re Debtor exhibit binders for chambers, witnesses
  7/6/2023 Molitor, Monica A.          0.20 $      78.00 B155     Prepare Debtor exhibit binder cover, index
  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email from E. Meltzer re 2nd amended agenda to reflect informal comments received from certain landlords represented by Ballard with respect to bid procedures
                                                                  order
  7/6/2023 Molitor, Monica A.          0.30 $    117.00 B155      Prepare 2nd amended agenda
  7/6/2023 Molitor, Monica A.          0.30 $    117.00 B155      Update special service list re 7.7 hearing agenda
  7/6/2023 Molitor, Monica A.          0.10 $     39.00 B155      Coordinate delivery of amended agenda, binder supplements to chambers re 7.7 hearing
  7/6/2023 Molitor, Monica A.          0.20 $     78.00 B155      Emails from C. Condon, E. Meltzer re updated status re utility matter and Soundwater lift stay matter for 7.7 agenda
  7/6/2023 Molitor, Monica A.          0.20 $     78.00 B155      Prepare 7.7 hearing binder supplements for submission to chambers
  7/6/2023 Molitor, Monica A.          0.20 $     78.00 B155      Email exchanges with E. Meltzer, M. McLaughlin Smith re submission of hearing binder supplements to chambers
  7/6/2023 Molitor, Monica A.          0.30 $    117.00 B155      Finalize debtor exhibit binder for submission to chambers
  7/6/2023 Molitor, Monica A.          0.50 $    195.00 B155      Update 2nd amended agenda re 7.7 hearing
  7/6/2023 Molitor, Monica A.          0.10 $     39.00 B155      Coordinate delivery of debtor exhibit binder to chambers
  7/6/2023 Molitor, Monica A.          0.10 $     39.00 B155      Confer with E. Meltzer re 3rd amended agenda
  7/6/2023 Molitor, Monica A.          0.10 $     39.00 B155      Finalize 2nd amended agenda for efiling




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  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Efile 2nd amended agenda re 7.7 hearing
  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Obtain as-filed 2nd amended agenda re 7.7 hearing
  7/6/2023 Molitor, Monica A.          0.20 $      78.00 B155     Email exchanges with noticing agent, co-counsel, E. Meltzer, M. McLaughlin Smith re service of 2nd amended agenda
  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to D. Gadson re as-filed 2nd amended agenda re 7.7 hearing
  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Confer with E. Meltzer re 2nd amended agenda, updates re same
  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Confer with E. Meltzer re hearing and witness binders
  7/6/2023 Molitor, Monica A.          0.40 $     156.00 B155     Prepare hearing binder supplements per 2nd amended agenda for delivery to chambers
  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to B. Campbell re delivery of hearing binder supplements, 2nd amended agenda to chambers
  7/6/2023 Molitor, Monica A.          0.30 $     117.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith, co-counsel re 2nd amended agenda re 7.7 hearing
  7/6/2023 Molitor, Monica A.          0.30 $     117.00 B155     Prepare 3rd amended agenda re 7.7 hearing
  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to E. Meltzer, M. McLaughlin Smith re 3rd amended agenda
  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to Reliable re preparation of 7.7 hearing binder re matters going forward
  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to clients, FAAN team, SSG team, co-counsel, E. Meltzer, M. McLaughlin Smith re 2nd amended agenda, related pleadings re 7.7 hearing
  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email from E. Meltzer re 3rd amended agenda to be filed early Friday morning
  7/6/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email from M. McLaughlin Smith re 3rd amended agenda, case status
  7/7/2023 McLaughlin Smith, Marcy J   0.30 $     252.00 B155     Hearing prep
  7/7/2023 McLaughlin Smith, Marcy J   2.60 $   2,184.00 B155     Attend hearing, including negotiations with various parties in interest
  7/7/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Emails with D. Gadson and internal team re: Zoom and hearing information re: 7/12 hearing
  7/7/2023 Meltzer, Evelyn J           2.00 $   2,000.00 B155     Preparing for hearing
  7/7/2023 Meltzer, Evelyn J           3.00 $   3,000.00 B155     Attending hearing
  7/7/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email exchange with D. Gadson re Zoom registration link, courtroom location re 7.12 hearing
  7/7/2023 Molitor, Monica A.          0.30 $     117.00 B155     Prepare agenda re 7.12 hearing
  7/7/2023 Molitor, Monica A.          0.20 $      78.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith re supplemental DIP matter adjourned to 7/12 hearing at 1 pm, agenda required for same
  7/7/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to E. Meltzer, M. McLaughlin Smith re turnaround for transcript of 7.7 hearing
  7/7/2023 Molitor, Monica A.          0.20 $      78.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith re Zoom registration link, courtroom location re 7/12 hearing
  7/7/2023 Molitor, Monica A.          0.10 $      39.00 B155     Update 7.12 hearing agenda with Zoom registration link, courtroom location
  7/7/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to E. Meltzer, M. McLaughlin Smith re 7.12 hearing agenda
  7/7/2023 Molitor, Monica A.          0.10 $      39.00 B155     Prepare 7.1 hearing binder cover re 7.12 hearing binder for chambers
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Emails with E. Meltzer and M. Molitor re: 7/12 hearing agenda
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Emails with C. Condon and E. Meltzer re: 7/12 hearing agenda
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Review 7/12 hearing agenda
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Emails with KCC team and M. Molitor re: service re: 7/12 hearing agenda
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Review and respond to M. Desgrosseilliers email re: July 7 hearing transcript
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Emails with E. Meltzer and M. Molitor re: amended 7/11 hearing agenda
 7/10/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Preparing 7/12/23 hearing agenda
 7/10/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Email to M. Molitor re 7/12/23 hearing agenda
 7/10/2023 Meltzer, Evelyn J           0.20 $     200.00 B155     Speaking with C. Condon re 7/12/23 hearing agenda
 7/10/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Email to M. Molitor re amended hearing agenda
 7/10/2023 Molitor, Monica A.          0.10 $      39.00 B155     Efile 7.12 hearing agenda
 7/10/2023 Molitor, Monica A.          0.10 $      39.00 B155     Obtain as-filed 7.12 hearing agenda
 7/10/2023 Molitor, Monica A.          0.10 $      39.00 B155     Obtain as-filed 7.12 hearing agenda
 7/10/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email exchange with D. Gadson re as-filed 7.12 hearing agenda, confirmation that hearing, and exhibit binders are being delivered
 7/10/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to noticing agent re service of as-filed 7.12 hearing agenda
 7/10/2023 Molitor, Monica A.          0.10 $      39.00 B155     Confer with B. Campbell re updated hearing and exhibit binders re 7.12 hearing
 7/10/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to B. Campbell re as-filed 7.12 hearing agenda
 7/10/2023 Molitor, Monica A.          0.20 $      78.00 B155     Email exchanges with G. Matthews, E. Meltzer re transcription of 7.7 hearing audio
 7/10/2023 Molitor, Monica A.          0.60 $     234.00 B155     Email exchanges with B. Campbell re preparation and delivery of 7.12 hearing binder, and exhibit binder to Judge Horan's chambers, updates to same

 7/10/2023 Molitor, Monica A.          0.10 $     39.00 B155      Coordinate delivery of 7.12 hearing and exhibit binders to Judge Horan's chambers
 7/10/2023 Molitor, Monica A.          0.10 $     39.00 B155      Finalize 7.12 hearing agenda for efiling




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 7/10/2023 Molitor, Monica A.          0.30 $   117.00 B155     Update 7.12 hearing agenda to include utilities matter and Soundwater matter in addition to supplemental DIP
 7/10/2023 Molitor, Monica A.          0.40 $   156.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith, co-counsel re 7.12 hearing agenda, additional matters to include in same
 7/10/2023 Molitor, Monica A.          0.10 $    39.00 B155     Prepare binder cover, index re Debtors' 7.12 exhibit binder
 7/10/2023 Molitor, Monica A.          0.60 $   234.00 B155     Prepare amended agenda re 7/12 hearing
 7/10/2023 Molitor, Monica A.          0.20 $    78.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith re updated amended agenda re Committee motion to convert matter
 7/10/2023 Molitor, Monica A.          0.10 $    39.00 B155     Email to B. Campbell re printing of pleadings for binder supplements for chambers
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with E. Meltzer and M. Molitor re: amended 7/12 hearing agenda
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with KCC team and M. Molitor re: service re: amended 7/12 hearing agenda
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Review UCC exhibit and witness list for 7/12 hearing
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Telephone call with E. Meltzer re: 7/12 witness and exhibit list
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with E. Meltzer and M. Molitor re: second amended 7/12 hearing agenda
 7/11/2023 Meltzer, Evelyn J           0.20 $   200.00 B155     Reviewing amended agenda for 7/12/23 hearing
 7/11/2023 Meltzer, Evelyn J           0.20 $   200.00 B155     Emails to M. Molitor re amended 7/12/23 agenda
 7/11/2023 Meltzer, Evelyn J           0.40 $   400.00 B155     Call with H. Murphy, C. Condon, et al. re 7/12/23 hearing
 7/11/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Speaking with M. Smith re exhibit / witness list for 7/12/23 hearing
 7/11/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Email to M. Molitor re second amended agenda
 7/11/2023 Molitor, Monica A.          0.40 $   156.00 B155     Update amended agenda re 7/12 hearing
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B155     Finalize amended 7/12 hearing agenda for efiling
 7/11/2023 Molitor, Monica A.          0.40 $   156.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith, C. Condon re updated amended agenda re 7/12 hearing
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B155     Obtain as-filed amended agenda re 7/12 hearing
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B155     Email exchange with noticing agent re service of amended agenda
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B155     Email exchange with M. Kaufman re amended agenda re 7.12 hearing
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B155     Efile amended agenda re 7/12 hearing
 7/11/2023 Molitor, Monica A.          0.20 $    78.00 B155     Email to B. Campbell re as-filed amended agenda re 7/12 hearing, coordination of delivery of same with binder supplements to chambers
 7/11/2023 Molitor, Monica A.          0.40 $   156.00 B155     Email exchanges with B. Campbell re print of all additional pleadings per amended agenda re 7.12 hearing, preparation of chambers binder supplements re same

 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B155     Email from G. Matthews re transcript re 7.7 hearing, review same
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B155     Email to clients, co-counsel, FAAN professionals, SSG professionals, E. Meltzer, M. McLaughlin Smith re 7.7 hearing transscript
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B155     Obtain, review committee witness, exhibit list re 7/12 hearing
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B155     Email exchange with E Meltzer, M. McLaughlin Smith re Committee exhibit/witness list re 7/12 hearing, additional pleadings expected to be filed
 7/11/2023 Molitor, Monica A.          0.30 $   117.00 B155     Prepare 2nd amended agenda re 7/12 hearing
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with E. Meltzer and M. Molitor re: second amended 7/12 hearing agenda
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Telephone call with E. Meltzer re: status of matters for 7/12 hearing
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Telephone call with E. Meltzer re: request to adjourn 7/12 hearing start time
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Review 3rd amended 7/12 hearing agenda
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Email to and from chambers re: request to adjourn 7/12 hearing start time
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with KCC team and M. Molitor re: service of amended agendas and notice of adjourned hearing start time
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Review and respond to A. Glorioso email re: status of hearing adjournment
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Telephone call with E. Meltzer re: further request to adjourn 7/12 hearing start time
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Email to and from chambers re: further request to adjourn 7/12 hearing start time
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Telephone call with D. Gadson re: further request to adjourn 7/12 hearing start time
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with KCC team and M. Molitor re: service of adjourned 7/13 hearing
 7/12/2023 McLaughlin Smith, Marcy J   1.00 $   840.00 B155     Attend hearing, including conferences with parties in interest at same
 7/12/2023 McLaughlin Smith, Marcy J   0.40 $   336.00 B155     Post-hearing conference with M. Salkovitz, H. Murphy, C. Condon and E. Meltzer re: adjourned hearing and next steps
 7/12/2023 McLaughlin Smith, Marcy J   0.20 $   168.00 B155     Conference with M. Molitor re: 7/12 hearing, adjourned 7/13 hearing and notice of same, and next steps
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with chambers re: 7/13 Zoom link and courtroom assignment
 7/12/2023 McLaughlin Smith, Marcy J   0.20 $   168.00 B155     Review and revise notice of 7/13 hearing
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with E. Meltzer and M. Molitor re: notice of 7/13 hearing
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B155     Emails with E. Meltzer and M. Molitor re: 3rd amended 7/12 hearing agenda
 7/12/2023 Meltzer, Evelyn J           0.10 $   100.00 B155     Email to M. Molitor re second amended agenda




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 7/12/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Email to FAAN re link to register for hearing
 7/12/2023 Meltzer, Evelyn J           0.10 $     100.00 B155     Speaking with M. Smith re 7/12/23 hearing
 7/12/2023 Meltzer, Evelyn J           5.00 $   5,000.00 B155     Preparing for hearing
 7/12/2023 Meltzer, Evelyn J           1.60 $   1,600.00 B155     Attending hearing
 7/12/2023 Meltzer, Evelyn J           2.40 $   2,400.00 B155     Meeting with client and co-counsel for post-hearing follow up re DIP order and budget
 7/12/2023 Molitor, Monica A.          0.20 $      78.00 B155     Update 2nd amended agenda re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to E. Meltzer, M. McLaughlin Smith 2nd amended agenda, Committee exhibit/witness list
 7/12/2023 Molitor, Monica A.          0.20 $      78.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith re 2nd amended agenda re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to M&K team re 2nd amended agenda re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email from E. Meltzer re C. Condon signoff on 2nd amended agenda re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Finalize 2nd amended agenda re 7.12 hearing for efiling
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Efile 2nd amended agenda re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Obtain as-filed 2nd amended agenda re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to D. Gadson re as-filed 2nd amended agenda re 7.12 hearing, confirmation of delivery of binder supplements per same
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email exchanges with noticing agent re service of 2nd amended agenda re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.30 $     117.00 B155     Prepare 2nd amended agenda copies, binder supplement per same for delivery to Judge Horan's chambers
 7/12/2023 Molitor, Monica A.          0.20 $      78.00 B155     Email exchanges with B. Campbell re delivery of 2nd amended agenda, binder supplements to Judge Horan's chambers
 7/12/2023 Molitor, Monica A.          0.40 $     156.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith, co-counsel, D. Gadson re 3rd amended agenda re changed start time for 7.12 hearing from 1 pm to 2:30

 7/12/2023 Molitor, Monica A.          0.20 $     78.00 B155      Prepare 3rd amended agenda changing hearing start time from 1:00 to 2:30
 7/12/2023 Molitor, Monica A.          0.10 $     39.00 B155      Finalize notice of start time change re 7.12 hearing for efiling
 7/12/2023 Molitor, Monica A.          0.10 $     39.00 B155      Efile notice of start time change re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.10 $     39.00 B155      Obtain as-filed notice of start time change re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.10 $     39.00 B155      Email to D. Gadson re as-filed notice of start time change re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.10 $     39.00 B155      Email exchange with noticing agent re email service of notice of start time change re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.30 $    117.00 B155      Prepare notice of hearing start time change re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.20 $     78.00 B155      Email exchanges with co-counsel, E. Meltzer, M. McLaughlin Smith re notice of start time change re 7.12 hearing
 7/12/2023 Molitor, Monica A.          0.10 $     39.00 B155      Email to E. Meltzer, M. McLaughlin Smith re notice of adjourned hearing for 7.13
 7/12/2023 Molitor, Monica A.          0.10 $     39.00 B155      Confer with M. McLaughlin Smith re Committee conversion motion hearing scheduled for 7/20, agenda needed for same
 7/12/2023 Molitor, Monica A.          0.30 $    117.00 B155      Email exchanges with D. Gadson, M. McLaughlin Smith re Zoom registration link, location of courtroom re 7.13 hearing, deadline by which participants must register
                                                                  re Zoom
 7/12/2023 Molitor, Monica A.          0.30 $    117.00 B155      Prepare notice of adjourned hearing from 7.12 to 7.13
 7/12/2023 Molitor, Monica A.          0.10 $     39.00 B155      Confer with M. McLaughlin Smith re adjournment of 7.12 hearing to 7.13, notice re same, case status, employee letters, additions to 2002 email service data

 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email from M. McLaughlin Smith re updated notice of adjourned hearing from 7.12 to 7.13
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Efile notice of adjournment of 7.12 hearing to 7.13
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Obtain as-filed notice of adjournment of 7.12 hearing to 7.13
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email exchange with noticing agent re service of notice of adjournment of 7.12 hearing to 7.13
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to D. Gadson re Notice of Adjournment of July 12, 2023 Hearing to July 13, 2023 at 1:00 p.m. (ET)
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Finalize notice of adjournment of 7.12 hearing to 7.13 for efiling
 7/12/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to clients, Debtors' professionals re notice of hearing continued from 7/12 to 7/13 with Zoom registration link
 7/13/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B155     Review and respond to M. Molitor email re: Zoom link for 7/20 hearing
 7/13/2023 McLaughlin Smith, Marcy J   1.20 $   1,008.00 B155     Attending hearing, including conferences with various parties in interest
 7/13/2023 Meltzer, Evelyn J           0.80 $     800.00 B155     Preparing for hearing
 7/13/2023 Meltzer, Evelyn J           1.50 $   1,500.00 B155     Attending hearing
 7/13/2023 Molitor, Monica A.          0.40 $     156.00 B155     Prepare agenda re 7.20 hearing
 7/13/2023 Molitor, Monica A.          0.20 $      78.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith re 7.20 hearing location, Zoom link
 7/13/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email from G. Matthews re 7.12 hearing transcript, review same
 7/13/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to clients, Debtors' professionals re 7.12 hearing transcript
 7/14/2023 Meltzer, Evelyn J           0.20 $     200.00 B155     Speaking with M. Smith re August 16 hearing
 7/14/2023 Molitor, Monica A.          0.10 $      39.00 B155     Email to client, Debtors' professionals re 7.13 hearing transcript




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 7/14/2023 Molitor, Monica A.           0.10 $      39.00 B155      Email from G. Matthews re 7.13 hearing transcript, review same
 7/14/2023 Molitor, Monica A.           0.40 $     156.00 B155      Review Parcels invoices re hand deliveries to USBC re agendas, hearing binders + supplements with respect to July hearings
 7/17/2023 Molitor, Monica A.           0.30 $     117.00 B155      Prepare special service list re 8.16 hearing agenda
 7/17/2023 Molitor, Monica A.           0.40 $     156.00 B155      Prepare 8.16 hearing agenda
 7/18/2023 Molitor, Monica A.           0.20 $      78.00 B155      Revise 8.16 hearing agenda
 7/18/2023 Molitor, Monica A.           0.20 $      78.00 B155      Email exchanges with L. Taylor re Reliable invoices re hearing transcript, hearing binder preparation/delivery to chambers, review invoices
 7/18/2023 Molitor, Monica A.           0.20 $      78.00 B155      Further update 8.16 hearing agenda
 7/19/2023 Molitor, Monica A.           0.10 $      39.00 B155      Update 8.16 hearing agenda
 7/21/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B155      Emails with E. Meltzer and M. Molitor re: 8/16 hearing change start time
 7/21/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B155      Emails with KCC team and M. Molitor re: service of notice of 8/16 hearing time change
 7/21/2023 Meltzer, Evelyn J            0.10 $     100.00 B155      Email to Court re hearing time
 7/21/2023 Meltzer, Evelyn J            0.10 $     100.00 B155      Email to M. Molitor re notice of change of hearing time
 7/21/2023 Meltzer, Evelyn J            0.10 $     100.00 B155      Email to the Court re August sale hearing
 7/21/2023 Meltzer, Evelyn J            0.10 $     100.00 B155      Email to T. Kohl re August sale hearing
 7/21/2023 Molitor, Monica A.           0.10 $      39.00 B155      Finalize notice of change in hearing time for 8.16 omnibus hearing for efiling
 7/21/2023 Molitor, Monica A.           0.10 $      39.00 B155      Obtain as-filed notice of change in hearing time for 8.16 omnibus hearing
 7/21/2023 Molitor, Monica A.           0.10 $      39.00 B155      Email exchanges with noticing agent, co-counsel, E. Meltzer, M. McLaughlin Smith re service of notice of change in hearing time for 8.16 omnibus hearing

 7/21/2023 Molitor, Monica A.           0.20 $       78.00 B155     Prepare notice of change in hearing time for 8.16 omnibus hearing
 7/21/2023 Molitor, Monica A.           0.10 $       39.00 B155     Efile notice of change in hearing time for 8.16 omnibus hearing
 7/21/2023 Molitor, Monica A.           0.20 $       78.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith re notice of change in hearing time for 8.16 omnibus hearing
 7/24/2023 Meltzer, Evelyn J            0.10 $      100.00 B155     Email to Court re September omnibus hearing date
 7/24/2023 Meltzer, Evelyn J            0.10 $      100.00 B155     Reviewing COC re September omnibus hearing date
 7/24/2023 Molitor, Monica A.           0.20 $       78.00 B155     Emails from E. Meltzer, D. Gadson re 9.14 omnibus hearing date re WARN Act pretrial conference
 7/24/2023 Molitor, Monica A.           0.20 $       78.00 B155     Email exchanges with E. Meltzer re COC, order setting 9.14 omnibus hearing
 7/24/2023 Molitor, Monica A.           0.10 $       39.00 B155     Finalize COC, order setting 9.14 omnibus hearing for efiling
 7/24/2023 Molitor, Monica A.           0.10 $       39.00 B155     Efile COC, order setting 9.14 omnibus hearing
 7/24/2023 Molitor, Monica A.           0.10 $       39.00 B155     Upload order setting 9.14 omnibus hearing via ECF
 7/24/2023 Molitor, Monica A.           0.20 $       78.00 B155     Prepare COC, order setting 9.14 omnibus hearing
 7/25/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B155     Emails with KCC team and M. Molitor re: service of COC and order re: omnibus hearing date and additional pleadings
 7/25/2023 Molitor, Monica A.           0.10 $       39.00 B155     Obtain as-filed COC, order setting 9.14 omnibus hearing date
 7/25/2023 Molitor, Monica A.           0.10 $       39.00 B155     Email exchange with noticing agent re service of COC, order setting 9.14 omnibus hearing
 7/25/2023 Molitor, Monica A.           0.10 $       39.00 B155     Update special service list re 8.16 hearing agenda
 7/25/2023 Molitor, Monica A.           0.30 $      117.00 B155     Update 8.16 hearing agenda
 7/25/2023 Molitor, Monica A.           0.10 $       39.00 B155     Email from E. Meltzer re motions scheduled for 8.16 hearing
 7/26/2023 Molitor, Monica A.           0.20 $       78.00 B155     Email exchanges with E. Meltzer, M. McLaughlin Smith, S. Henry re Zoom registration link from chambers re 8.16 hearing
 7/26/2023 Molitor, Monica A.           0.10 $       39.00 B155     Email to D. Gadson, A. Hrycak re 8.16 hearing Zoom registration link
 7/26/2023 Molitor, Monica A.           0.10 $       39.00 B155     Email from D. Gadson re Zoom registration link re 8.16 hearing
 7/27/2023 Molitor, Monica A.           0.20 $       78.00 B155     Update 8.16 hearing agenda
 7/31/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B155     Emails with chambers re: requested omnibus hearing date
 7/31/2023 Molitor, Monica A.           0.20 $       78.00 B155     Update 8.16 hearing agenda
                                       69.70 $   48,963.00 B155     Court Hearings
  7/5/2023 Meltzer, Evelyn J            0.30 $      300.00 B160     Preparing TPHS May and June fee application
 7/13/2023 Henry, Susan M               0.10 $      39.00 B160      Prepare e-mail to E. Meltzer re first monthly fee application
 7/13/2023 Henry, Susan M               0.30 $     117.00 B160      Prepare exhibit to first monthly fee application
 7/13/2023 Henry, Susan M               0.80 $     312.00 B160      Prepare first monthly fee application
 7/13/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B160      Emails with E. Meltzer and S. Henry re: TPHS May and June fee application
 7/21/2023 Henry, Susan M               0.20 $      78.00 B160      Prepare e-mails to E. Meltzer re first monthly fee application
 7/21/2023 Meltzer, Evelyn J            0.10 $     100.00 B160      Email to S. Henry re TPHS first fee application
 7/24/2023 Henry, Susan M               0.30 $     117.00 B160      Prepare e-mails to K. McIlvaine re exhibit to first monthly fee application




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 7/24/2023 Henry, Susan M              0.40 $     156.00 B160     Telephone call with and prepare e-mails to E. Meltzer re first monthly fee application
 7/24/2023 Meltzer, Evelyn J           0.70 $     700.00 B160     Preparing TPHS first fee application
 7/24/2023 Meltzer, Evelyn J           0.30 $     300.00 B160     Speaking with S. Henry re TPHS first fee application
 7/25/2023 Meltzer, Evelyn J           0.10 $     100.00 B160     Email to M. Kanhon re July fee application
 7/25/2023 Meltzer, Evelyn J           0.20 $     200.00 B160     Revising TPHS May and June fee applications
 7/25/2023 Meltzer, Evelyn J           0.50 $     500.00 B160     Preparing TPHS July fee application
 7/26/2023 Henry, Susan M              0.30 $     117.00 B160     Prepare e-mails to E. Meltzer re Troutman first monthly fee application
 7/26/2023 Henry, Susan M              0.10 $      39.00 B160     Revise notice for Troutman first monthly fee application
 7/26/2023 Henry, Susan M              0.30 $     117.00 B160     File Troutman first monthly fee application
 7/26/2023 Henry, Susan M              0.10 $      39.00 B160     Prepare e-mail to KCC re service of Troutman first monthly fee application
 7/26/2023 Henry, Susan M              0.30 $     117.00 B160     Prepare emails to internal team re invoice and LEDES file for Troutman first monthly fee application
 7/26/2023 Henry, Susan M              0.10 $      39.00 B160     Prepare e-mail to M. Molitor re Troutman first monthly fee application
 7/26/2023 Meltzer, Evelyn J           0.10 $     100.00 B160     Email to S. Henry re TPHS May/June fee application
 7/26/2023 Meltzer, Evelyn J           0.20 $     200.00 B160     Preparing TPHS May/June fee application.
 7/26/2023 Meltzer, Evelyn J           0.10 $     100.00 B160     Email to S. Henry re TPHS May/June fee application
 7/27/2023 Henry, Susan M              0.10 $      39.00 B160     Prepare follow up e-mail to K. Caldwell re LEDES filed for Troutman first monthly fee application
 7/27/2023 Henry, Susan M              0.10 $      39.00 B160     Prepare e-mail to B. Hackman re LEDES for Troutman first monthly fee application
                                       6.20 $   4,049.00 B160     Fee Applications
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B165     Email to and from E. Meltzer re: FAAN monthly fee app
 7/11/2023 Meltzer, Evelyn J           0.20 $     200.00 B165     Speaking with B. Friedman re KCC invoice
 7/11/2023 Meltzer, Evelyn J           0.10 $     100.00 B165     Email to H. Murphy and C. Condon re KCC invoice
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B165     Review D. Rebello and E. Meltzer emails re: Gray, Gray and Gray postpetition fees and current projects
 7/13/2023 Meltzer, Evelyn J           0.10 $     100.00 B165     Email to H. Murphy re May and June fee application
 7/13/2023 Molitor, Monica A.          0.20 $      78.00 B165     Obtain, review 1st and 2nd monthly fee applications of Porzio, Bromberg & Newman
 7/17/2023 Henry, Susan M              0.20 $      78.00 B165     Prepare e-mails to N. Manzoor and L. Bezner re sample fee applications
 7/17/2023 Henry, Susan M              0.10 $      39.00 B165     Prepare e-mail to E. Meltzer re sample fee application for FAAN
 7/17/2023 Henry, Susan M              0.10 $      39.00 B165     Research re sample financial advisor monthly fee applications
 7/17/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B165     Emails with C. Condon, N. Manzoor, E. Meltzer and S. Henry re: form monthly fee application
 7/17/2023 Molitor, Monica A.          0.20 $      78.00 B165     Emails from S. Henry, N. Manzoor re 1st fee application re FAAN Advisors
 7/18/2023 McLaughlin Smith, Marcy J   0.20 $     168.00 B165     Telephone call with C. Condon re: May and June fee apps
 7/18/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B165     Email E. Meltzer and S. Henry re: M&K fee app questions
 7/18/2023 Meltzer, Evelyn J           0.20 $     200.00 B165     Emails to S. Henry re M&K first fee application
 7/18/2023 Molitor, Monica A.          0.60 $     234.00 B165     Prepare fee application/CNO status chart re estate compensated professionals
 7/21/2023 Meltzer, Evelyn J           0.20 $     200.00 B165     Call with C. Condon re first fee applications
 7/21/2023 Molitor, Monica A.          0.10 $      39.00 B165     Email to S. Henry re fee application/CNO status chart
 7/24/2023 Meltzer, Evelyn J           0.20 $     200.00 B165     Email to C. Condon re first fee applications
 7/24/2023 Molitor, Monica A.          0.10 $      39.00 B165     Obtain, review Womble Bond 1st fee application as Committee co-counsel
 7/25/2023 Meltzer, Evelyn J           0.10 $     100.00 B165     Email to H. Murphy re M&K first fee application
 7/26/2023 Henry, Susan M              0.20 $      78.00 B165     Update fee application and CNO chart
 7/26/2023 Meltzer, Evelyn J           0.10 $     100.00 B165     Reviewing M&K's May / June fee application
 7/26/2023 Meltzer, Evelyn J           0.10 $     100.00 B165     Email to C. Condon re M&K May/June fee application
 7/26/2023 Meltzer, Evelyn J           0.10 $     100.00 B165     Email to M. Molitor re M&K's May/June fee application
 7/26/2023 Molitor, Monica A.          0.40 $     156.00 B165     Email exchanges with E. Meltzer re M&K 1st fee application, exhibits, notice re same, updates to application
 7/26/2023 Molitor, Monica A.          0.20 $      78.00 B165     Collate M&K 1st fee application, notice, exhibits for E. Meltzer review
 7/26/2023 Molitor, Monica A.          0.30 $     117.00 B165     Finalize M&K 1st fee application, notice, exhibits A, B for efiling
 7/26/2023 Molitor, Monica A.          0.20 $      78.00 B165     Update notice of monthly fee application re M&K
 7/26/2023 Molitor, Monica A.          0.40 $     156.00 B165     Review, update M&K 1st fee application, exhibit A to same
 7/26/2023 Molitor, Monica A.          0.10 $      39.00 B165     Email exchange with E. Meltzer re signoff on M&K fee application
 7/26/2023 Molitor, Monica A.          0.10 $      39.00 B165     Efile M&K first fee application, notice, Exhibits A, B to same
 7/26/2023 Molitor, Monica A.          0.10 $      39.00 B165     Obtain as-filed M&K 1s fee application




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 7/26/2023 Molitor, Monica A.           0.10 $     39.00 B165      Email to noticing agent, E. Meltzer, co-counsel, M. McLaughlin Smith, S. Henry re service of M&K 1st fee application on fee application service list parties

 7/26/2023 Molitor, Monica A.           0.10 $      39.00 B165     Email exchange with E. Meltzer, M. McLaughlin Smith re LEDES information from M&K for the 1st fee application
 7/26/2023 Molitor, Monica A.           0.10 $      39.00 B165     Email to M&K team re LEDES information for the M&K 1st fee application
 7/27/2023 Meltzer, Evelyn J            0.20 $     200.00 B165     Reviewing FAAN's first fee application
 7/27/2023 Meltzer, Evelyn J            0.20 $     200.00 B165     Speaking with M. Molitor re FAAN first fee applications
 7/27/2023 Molitor, Monica A.           0.10 $      39.00 B165     Update fee application status chart re FAAN Advisors 1st application information
 7/27/2023 Molitor, Monica A.           0.10 $      39.00 B165     Email from C. Condon re LEDES file with respect to M&K first fee application
 7/27/2023 Molitor, Monica A.           0.20 $      78.00 B165     Prepare notice of FAAN advisors 1st fee application
 7/27/2023 Molitor, Monica A.           0.20 $      78.00 B165     Emails from E. Meltzer re comments to FAAN Advisors 1st fee application, Exhibit A to same
 7/27/2023 Molitor, Monica A.           0.10 $      39.00 B165     Confer with E. Meltzer re FAAN Advisors 1st fee application, Ex. A to same
 7/27/2023 Molitor, Monica A.           0.30 $     117.00 B165     Review FAAN Advisors 1st fee application, update same
 7/27/2023 Molitor, Monica A.           0.10 $      39.00 B165     Update notice re FAAN Advisors 1st fee application
 7/27/2023 Molitor, Monica A.           0.20 $      78.00 B165     Email exchanges with E. Meltzer re finalized FAAN Advisors 1st fee application, Ex. A to same, notice
 7/27/2023 Molitor, Monica A.           0.10 $      39.00 B165     Efile FAAN Advisors 1st fee application, Ex. A to same, notice
 7/27/2023 Molitor, Monica A.           0.10 $      39.00 B165     Obtain as-filed FAAN Advisors 1st fee application
 7/27/2023 Molitor, Monica A.           0.30 $     117.00 B165     Finalize FAAN Advisors 1st fee application, Ex. A to same, notice re same for efiling
 7/27/2023 Molitor, Monica A.           0.10 $      39.00 B165     Email exchanges with noticing agent re service of FAAN Advisors 1st fee application
 7/27/2023 Molitor, Monica A.           0.30 $     117.00 B165     Emails from L. Bezner re updated versions of FAAN Advisors 1st fee application, Ex. A to same
 7/27/2023 Molitor, Monica A.           0.10 $      39.00 B165     Email to B. Hackman, E. Meltzer, M. McLaughlin Smith, S. Henry re LEDES file with respect to M&K 1st fee application
 7/28/2023 Molitor, Monica A.           0.40 $     156.00 B165     Prepare CNO re M&K 1st fee application
 7/28/2023 Molitor, Monica A.           1.80 $     702.00 B165     Prepare fee application index re Debtor and Committee professionals
 7/28/2023 Molitor, Monica A.           0.20 $      78.00 B165     Prepare CNO re FAAN Advisors 1st fee application
 7/31/2023 Meltzer, Evelyn J            0.10 $     100.00 B165     Email to M&K and FAAN re July fee applications
 7/31/2023 Meltzer, Evelyn J            0.10 $     100.00 B165     Email to J. Kern re UST fees
 7/31/2023 Molitor, Monica A.           0.20 $      78.00 B165     Email exchanges with E. Meltzer, L. Belzer, C. Condon re 2nd fee applications, 8/7 target date for filing same
                                       11.40 $   5,936.00 B165     Fee Applications - Others
  7/1/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B175     Review B. Hackman email re: Gray, Gray & Gray OCP declaration
  7/3/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B175     Review E. Meltzer email re: UST email re: Gray, Gray & Gray OCP declaration
  7/3/2023 Meltzer, Evelyn J            0.10 $     100.00 B175     Email to D. Rebello re Gray OCP declaration
  7/5/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B175     Email T. Kohl and S. Victor re: entered SSG retention order
  7/5/2023 Meltzer, Evelyn J            0.10 $     100.00 B175     Email to M. Molitor re SSG entered order
  7/5/2023 Molitor, Monica A.           0.20 $      78.00 B175     Email exchanges with noticing agent, M. McLaughlin Smith, E. Meltzer, co-counsel re service of CNO and order approving SSG Advisors retention application

  7/7/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B175     Review D. Rebello email re: UST question re: GGG OCP retention declaration
 7/10/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B175     Review B. Hackman and E. Meltzer emails re: Gray, Gray & Gray OCP declaration
 7/10/2023 Meltzer, Evelyn J            0.10 $     100.00 B175     Email to B. Hackman re Gray OCP declaration
 7/13/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B175     Emails with Jackson Lewis team and E. Meltzer re: OCP declaration
 7/13/2023 Meltzer, Evelyn J            0.10 $     100.00 B175     Email to Jackson Lewis re OCP declaration
 7/14/2023 Molitor, Monica A.           0.20 $      78.00 B175     Email exchanges with E. Meltzer, M. McLaughlin Smith re outstanding OCP declaration, reporting requirements re payments to OCPs
 7/14/2023 Molitor, Monica A.           0.20 $      78.00 B175     Emails from E. Meltzer, Jackson Lewis team re status of OCP declaration for Jackson Lewis
 7/17/2023 Meltzer, Evelyn J            0.10 $     100.00 B175     Email to Jackson Lewis re OCP declaration
 7/20/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B175     Emails with E. Meltzer and M. Molitor re: Jackson Lewis OCP declaration
 7/20/2023 Molitor, Monica A.           0.20 $      78.00 B175     Email exchanges with E. Meltzer, M. McLaughlin Smith re status Jackson Lewis P.C. OCP declaration, update status chart re same
 7/24/2023 Meltzer, Evelyn J            0.10 $     100.00 B175     Email to Jackson Lewis re OCP declaration
 7/28/2023 Molitor, Monica A.           0.10 $      39.00 B175     Email exchange with E. Meltzer, M. McLaughlin Smith re target date to file Jackson Lewis P.C. OCP Declaration
                                        2.20 $   1,539.00 B175     Retention Applications - Others
  7/3/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B185     Review C. Condon email re: SVMP objection to motion to reject certain store locations and informal landlord comments re: same
  7/3/2023 Meltzer, Evelyn J            0.10 $     100.00 B185     Email to D. Willauer re landlord objection
  7/5/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B185     Review D. Plon letter re: Holyoke Crossing July rent
  7/5/2023 Meltzer, Evelyn J            0.10 $     100.00 B185     Reviewing letter from landlord re July rent



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  7/5/2023 Meltzer, Evelyn J           0.20 $   200.00 B185     Reviewing emails re payment of rent to landlord
  7/7/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Review A. Economy email re: Frost Associates rejection question
  7/7/2023 Molitor, Monica A.          0.20 $    78.00 B185     Email exchanges with E. Meltzer, M. McLaughlin Smith re respective COCs re motion to reject leases, motion to extend deadline to assume or reject leases, timing
                                                                for filing same
  7/7/2023 Molitor, Monica A.          0.60 $   234.00 B185     Prepare COC re revised order re motion to extend deadline to assume or reject unexpired leases
  7/7/2023 Molitor, Monica A.          0.20 $    78.00 B185     Email exchanges with E. Meltzer, M. McLaughlin Smith re respective COCs re revised lease rejection order and revised order re motion to extend deadline to
                                                                assume,reject leases
  7/7/2023 Molitor, Monica A.          0.60 $   234.00 B185     Prepare COC re revised order re motion to reject leases
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with J. Sullivan and E. Meltzer re: July rent
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Telephone call with E. Meltzer re: timeline re: potential rejection motion
 7/10/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Speaking with M. Smith re lease rejection motion
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with C. Condon and E. Meltzer re: revised orders re: rejection motion and 365(d)(4) extension motion
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with E. Meltzer and M. Molitor re: revised orders re: rejection motion and 365(d)(4) extension motion and COCs re: same
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with M. Molitor re: exhibits re: COCs re: revised orders re: rejection motion and 365(d)(4) extension motion
 7/11/2023 McLaughlin Smith, Marcy J   0.30 $   252.00 B185     Prepare exhibits re: COCs re: revised orders re: rejection motion and 365(d)(4) extension motion
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with C. Condon re: COC re: revised order re: rejection motion
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Review E. Meltzer emails re: C. Brown email re: July rent
 7/11/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to C. Condon re COCs for order motion to reject leases and extension of rejection deadline
 7/11/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Reviewing COC re revised order re motion to reject unexpired leases
 7/11/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to M. Molitor re COC re revised order re motion to reject unexpired leases
 7/11/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Reviewing COC re revised order re motion to extend deadline to assume or reject per 365(d)(4)
 7/11/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to M. Molitor re COC re revised order re motion to extend deadline to assume or reject per 365(d)(4)
 7/11/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to M. Kauffman re July rent for Lynnfield Plaza Realty Trust
 7/11/2023 Molitor, Monica A.          0.20 $    78.00 B185     Update respective COCs re motion to reject leases, motion to extend deadline to assume or reject leases
 7/11/2023 Molitor, Monica A.          0.60 $   234.00 B185     Email exchanges with E. Meltzer, C. Condon, M. McLaughlin Smith re revised orders re motion to reject leases, motion to extend deadline to assume or reject leases,
                                                                blackline orders re same
 7/11/2023 Molitor, Monica A.          0.20 $    78.00 B185     Emails from C. Condon, M. McLaughlin Smith re revised order, blackline re motion to reject leases
 7/11/2023 Molitor, Monica A.          0.60 $   234.00 B185     Finalize, collate respective COCs, exhibits re motion to reject leases, motion to extend deadline to assume or reject leases
 7/11/2023 Molitor, Monica A.          0.20 $    78.00 B185     Finalize COC, exhibits re motion to extend deadline to assume or reject leases for efiling
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B185     Efile COC, exhibits re motion to extend deadline to assume or reject leases
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B185     Obtain as-filed COC, exhibits re motion to extend deadline to assume or reject leases
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B185     Finalize order re motion to extend deadline to assume or reject leases for ECF upload
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B185     Upload revised order granting motion to extend deadline to assume or reject leases via ECF
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B185     Efile COC, exhibits re motion to reject leases
 7/11/2023 Molitor, Monica A.          0.20 $    78.00 B185     Update, finalize COC, order, schedule 1 re motion to reject leases for ECF upload
 7/11/2023 Molitor, Monica A.          0.10 $    39.00 B185     Upload order, Schedule 1 re motion to reject leases, via ECF
 7/11/2023 Molitor, Monica A.          0.30 $   117.00 B185     Finalize COC, exhibits re motion to reject leases for efiling
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Review and respond to D. DeFigueiredo email re: Lynnfield July rent invoice
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Telephone call with O. Karajian re: Lynnfield July rent invoice
 7/12/2023 Molitor, Monica A.          0.10 $    39.00 B185     Obtain respective as-filed Certifications of Counsel re lease rejection order, and order extending deadline to assume or reject leases
 7/12/2023 Molitor, Monica A.          0.10 $    39.00 B185     Obtain, review order granting motion to reject leases
 7/12/2023 Molitor, Monica A.          0.10 $    39.00 B185     Obtain, review order extending deadline to assume or reject leases
 7/12/2023 Molitor, Monica A.          0.20 $    78.00 B185     Respective emails to noticing agent re service of respective certifications of counsel, orders re motion to extend deadline to assume or reject leases, and motion to
                                                                reject certain leases
 7/13/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Review K. Newman email re: Watertown store stub rent
 7/13/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Email MK team and E. Meltzer re: landlord counsel email re: Watertown store stub rent
 7/14/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Review M. Salkovitz and E. Meltzer emails re: letter re: Springfield store location obligations
 7/17/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with J. Webb, L. O'Farrell and E. Meltzer re: rejection motion
 7/17/2023 McLaughlin Smith, Marcy J   0.20 $   168.00 B185     Telephone call with E. Meltzer re: rejection motion
 7/17/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Review D. Defigueiredo email re: Lynnfield July rent
 7/17/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Further emails with J. Webb and E. Meltzer re: rejection motion




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 7/17/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Reviewing email from L. O'Farrell re motion to reject leases by July 31
 7/17/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to B. Roy re stub rent
 7/17/2023 Meltzer, Evelyn J           0.20 $   200.00 B185     Speaking with M. Smith re lease rejection motion
 7/17/2023 Meltzer, Evelyn J           0.20 $   200.00 B185     Email to J. Webb re second lease rejection motion
 7/18/2023 McLaughlin Smith, Marcy J   0.40 $   336.00 B185     Draft second omnibus rejection motion
 7/18/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to H. Murphy re distribution lease
 7/18/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to M. Kauffman re distribution lease
 7/18/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to C. Brown re July rent
 7/18/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to M. Desgrosseillers re distribution lease
 7/22/2023 McLaughlin Smith, Marcy J   0.50 $   420.00 B185     Draft second omnibus rejection motion
 7/24/2023 McLaughlin Smith, Marcy J   0.70 $   588.00 B185     Further draft second omnibus rejection motion
 7/24/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Email E. Meltzer and M. Molitor re: draft second omnibus lease rejection motion
 7/24/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to M. Smith re 2nd lease rejection motion
 7/25/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with E. Meltzer re: comments to second omnibus rejection motion
 7/25/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Revise second omnibus rejection motion
 7/25/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Email DIP lender's and HMR's counsel re: second omnibus rejection motion
 7/25/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with M. Kaufman re: second omnibus rejection motion
 7/25/2023 Meltzer, Evelyn J           0.20 $   200.00 B185     Reviewing second rejection motion
 7/25/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to M. Smith re second rejection motion
 7/25/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Reviewing notice of second omnibus rejection motion
 7/25/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to M. Molitor re second omnibus rejection motion
 7/25/2023 Molitor, Monica A.          0.20 $    78.00 B185     Prepare notice re 2nd omnibus rejection motion
 7/25/2023 Molitor, Monica A.          0.20 $    78.00 B185     Email exchanges with E. Meltzer, M. McLaughlin Smith re 2nd omnibus lease rejection motion, notice for same
 7/25/2023 Molitor, Monica A.          0.10 $    39.00 B185     Email to noticing agent re excel spreadsheet re affected leases/landlords re 2nd omnibus rejection motion
 7/25/2023 Molitor, Monica A.          0.20 $    78.00 B185     Email exchanges with E. Meltzer, M. McLaughlin Smith re 2nd omnibus rejection motion, affected leases/landlords, providing service information to noticing agent

 7/25/2023 Molitor, Monica A.          0.10 $    39.00 B185     Review 2nd omnibus rejection motion, list of affected leases/landlords re same
 7/25/2023 Molitor, Monica A.          0.20 $    78.00 B185     Email exchanges with E. Meltzer, M. McLaughlin Smith re notice re 2nd omnibus rejection motion
 7/26/2023 Henry, Susan M              0.20 $    78.00 B185     Prepare e-mails to M. Molitor re second omnibus store lease rejection motion
 7/26/2023 Henry, Susan M              0.20 $    78.00 B185     Prepare to file store lease rejection motion
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with E. Meltzer and M. Molitor re: second omnibus rejection motion
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with E. Meltzer and M. Molitor re: rejection motion and notice re: same
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Further emails with M. Desgrosseilliers and E. Meltzer re: lease locations re: rejection motion
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Email E. Meltzer and M. Molitor re: revised exhibit to second omnibus rejection motion
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Revise exhibit to second omnibus rejection motion
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Review finalized rejection motion
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with KCC team and M. Molitor re: service of rejection motion
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Review and respond to L. Muchnik email re: questions re: second omnibus rejection motion
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with M. Molitor re: Soundwater Dartmouth and second omnibus rejection motion
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B185     Emails with M. Degrosseilliers and E. Meltzer re: issues re: distribution center
 7/26/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to M. Smith re second rejection motion
 7/26/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to C. Condon re rejected leases
 7/26/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Speaking with M. Desgrosseillers re distribution center lease
 7/26/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Speaking with M. Kauffman re surrender of lease
 7/26/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Call with counsel for DC center re equipment
 7/26/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Email to M. Kauffman re racking and lift equipment at Distribution Center
 7/26/2023 Meltzer, Evelyn J           0.10 $   100.00 B185     Reviewing DC lease agreement
 7/26/2023 Meltzer, Evelyn J           0.20 $   200.00 B185     Speaking with counsel for DC location re lease agreement
 7/26/2023 Molitor, Monica A.          0.60 $   234.00 B185     Email exchanges with E. Meltzer, M. McLaughlin Smith, co-counsel, noticing agent re affected counterparty list, exhibit to 2nd omnibus rejection motion, updates to
                                                                same for service of pleading
 7/26/2023 Molitor, Monica A.          0.30 $   117.00 B185     Finalize 2nd omnibus rejection motion, notice, Ex. A for efiling



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 7/26/2023 Molitor, Monica A.           0.10 $      39.00 B185      Obtain as-filed 2nd omnibus lease rejection motion
 7/26/2023 Molitor, Monica A.           0.10 $      39.00 B185      Efile 2nd omnibus lease rejection motion
 7/26/2023 Molitor, Monica A.           0.40 $     156.00 B185      Email exchanges with E. Meltzer, M. McLaughlin Smith, S. Henry re 2nd omnibus rejection motion, notice, Schedule 1 to proposed order, status of filing same

 7/27/2023 Meltzer, Evelyn J            0.20 $      200.00 B185     Emails to M. Salkovitz re fork lifts at DC location
 7/27/2023 Meltzer, Evelyn J            0.10 $      100.00 B185     Review stay violation letter
 7/27/2023 Meltzer, Evelyn J            0.20 $      200.00 B185     Email to M. Desgrosseillers re stay violation letter
 7/27/2023 Meltzer, Evelyn J            0.20 $      200.00 B185     Call with M. Desgrosseillers re stay violation letter
 7/27/2023 Meltzer, Evelyn J            0.10 $      100.00 B185     Email to A. Mattera re stay violation
 7/27/2023 Meltzer, Evelyn J            0.10 $      100.00 B185     Email to A. Mattera re rejection of distribution center lease
 7/27/2023 Meltzer, Evelyn J            0.10 $      100.00 B185     Email to M. Smith re lease rejection motion
 7/28/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B185     Emails with E. Meltzer re: motion to reject DC
 7/28/2023 McLaughlin Smith, Marcy J    0.20 $      168.00 B185     Telephone call with E. Meltzer re: rejection and sale issues, including janitorial service contract
 7/28/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B185     Review and respond to M. Kaufman email re: janitorial service contract
 7/28/2023 Meltzer, Evelyn J            0.10 $      100.00 B185     Speaking with M. Smith re terminated cleaning contract
 7/29/2023 McLaughlin Smith, Marcy J    0.60 $      504.00 B185     Draft motion to reject DC
 7/29/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B185     Email E. Meltzer re: motion to reject DC
 7/29/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B185     Email M. Molitor re: notice of motion to reject DC
 7/31/2023 Henry, Susan M               0.30 $      117.00 B185     File motion to reject distribution center lease and upload proposed order for same
 7/31/2023 Henry, Susan M               0.10 $       39.00 B185     Prepare e-mail to KCC re service of motion to reject distribution center lease
 7/31/2023 Henry, Susan M               0.10 $       39.00 B185     Prepare e-mail to M. Smith re motion to reject distribution center lease
 7/31/2023 McLaughlin Smith, Marcy J    0.20 $      168.00 B185     Telephone call with E. Meltzer re: rejection motion and outstanding admin expense motions
 7/31/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B185     Email M. Salkovitz and M. Kaufman re: motion to reject DC lease
 7/31/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B185     Emails with lenders' counsel re: motion to reject DC lease
 7/31/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B185     Emails with DC landlord counsel, HMR counsel and E. Meltzer re: DC lease rejection motion
 7/31/2023 McLaughlin Smith, Marcy J    0.20 $      168.00 B185     Telephone call with M. Kaufman re: Huntington fixtures
 7/31/2023 McLaughlin Smith, Marcy J    0.20 $      168.00 B185     Telephone call with E. Meltzer re: future rejection motions and next steps
 7/31/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B185     Review and revise notice re: motion to reject distribution center lease
 7/31/2023 McLaughlin Smith, Marcy J    0.20 $      168.00 B185     Revise motion to reject distribution center lease
 7/31/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B185     Emails with KCC team re: service of motion to reject DC lease
 7/31/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B185     Emails with S. Henry re: motion to reject distribution center lease
 7/31/2023 Meltzer, Evelyn J            0.10 $      100.00 B185     Reviewing DC rejection motion
 7/31/2023 Meltzer, Evelyn J            0.10 $      100.00 B185     Speaking to M. Smith re DC rejection motion
 7/31/2023 Meltzer, Evelyn J            0.10 $      100.00 B185     Email to Alex Mattera re DC rejection motion
 7/31/2023 Molitor, Monica A.           0.20 $       78.00 B185     Prepare notice re motion to reject distribution center lease
 7/31/2023 Molitor, Monica A.           0.20 $       78.00 B185     Email exchanges with M. McLaughlin Smith re notice re motion to reject distribution center lease
 7/31/2023 Molitor, Monica A.           0.10 $       39.00 B185     Email from S. Yachik re Debtor vacating certain stores per 2nd omnibus lease rejection motion
                                       21.90 $   15,191.00 B185     Assumption / Rejection of Leases and Contracts
  7/5/2023 Meltzer, Evelyn J            0.10 $      100.00 B190     Email to M. Smith re conversion motion
 7/10/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B190     Emails with M. Patterson, B. Hackman and E. Meltzer re: UCC motion to shorten notice re: conversion motion
 7/10/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B190     Review C. Condon emails re: UCC motion to convert and related documents
 7/10/2023 Meltzer, Evelyn J            0.10 $      100.00 B190     Email to H. Murphy and C. Condon re motion to convert
 7/10/2023 Meltzer, Evelyn J            0.10 $      100.00 B190     Email to M. Patterson re motion to convert
 7/10/2023 Meltzer, Evelyn J            0.20 $      200.00 B190     Reviewing conversion motion
 7/10/2023 Molitor, Monica A.           0.20 $       78.00 B190     Obtain, review Committee motion to convert, Ayers declaration ISO same, motion & order to shorten notice re same
 7/11/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B190     Review ReStore objection to motion to shorten notice re: UCC conversion motion
 7/11/2023 McLaughlin Smith, Marcy J    0.10 $       84.00 B190     Review order denying motion to shorten notice re: UCC conversion motion
 7/11/2023 Meltzer, Evelyn J            0.10 $      100.00 B190     Reviewing Restore objection to motion to shorten notice for motion to convert
 7/11/2023 Meltzer, Evelyn J            0.10 $      100.00 B190     Reviewing Court order re status conference on motion to convert
 7/11/2023 Molitor, Monica A.           0.10 $       39.00 B190     Obtain, review ReStore objection to Committee motion to shorten re conversion motion




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 7/11/2023 Molitor, Monica A.          0.10 $      39.00 B190     Obtain, review order denying Committee motion to shorten notice re conversion motion
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B190     Review pro se letters requesting adjournment
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B190     Email MK team and E. Meltzer re: pro se letters requesting adjournment
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B190     Review and respond to M. Patterson email re: unredacted creditor matrix re: service of Committee's conversion motion
 7/13/2023 Meltzer, Evelyn J           0.30 $     300.00 B190     Email to M. Smith re conversion motions
 7/13/2023 Molitor, Monica A.          0.10 $      39.00 B190     Obtain, review Committee notice of hearing re conversion motion
 7/13/2023 Molitor, Monica A.          0.10 $      39.00 B190     Confer with E. Meltzer re Committee conversion motion taken off Court calendar for 7.20
 7/14/2023 Molitor, Monica A.          0.10 $      39.00 B190     Review notice of withdrawal of Committee motion to convert
 7/25/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B190     Review E. Meltzer email re: pending motions for 8/16 hearing
 7/26/2023 Meltzer, Evelyn J           0.10 $     100.00 B190     Email to M. Conlan re service of WARN Act complaint
 7/27/2023 Meltzer, Evelyn J           0.20 $     200.00 B190     Speaking with M. Smith re motion to convert
 7/27/2023 Meltzer, Evelyn J           0.10 $     100.00 B190     Email to CTS re motion to convert
 7/31/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B190     Email R. Parisi and M. Patterson re: UCC's conversion motion
                                       3.00 $   2,429.00 B190     Other Contested Matters
 7/20/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B191     Review C. Condon and Company team emails re: WARN Act complaint
 7/20/2023 Meltzer, Evelyn J           0.20 $     200.00 B191     Reviewing WARN Act complaint
 7/20/2023 Molitor, Monica A.          0.10 $      39.00 B191     Obtain, review complaint re Adv. Proc. 23-50446-TMH Vorel v. Christmas Tree Shops, LLC
 7/20/2023 Molitor, Monica A.          0.10 $      39.00 B191     Update E. Meltzer, M. McLaughlin Smith ECF notifications to add Adv. Proc. 23-50446-TMH Vorel v. Christmas Tree Shops, LLC
 7/20/2023 Molitor, Monica A.          0.10 $      39.00 B191     Email to E. Meltzer, M. McLaughlin Smith re ECF notifications to add Adv. Proc. 23-50446-TMH Vorel v. Christmas Tree Shops, LLC
 7/24/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B191     Emails with Company team and E. Meltzer re: WARN Act complaint
 7/24/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B191     Emails with T. Diamond and E. Meltzer re: WARN Act complaint
 7/24/2023 Meltzer, Evelyn J           0.10 $     100.00 B191     Email to M&K and CTS re WARN Act complaint
 7/24/2023 Meltzer, Evelyn J           0.20 $     200.00 B191     Emails to T. Diamond re WARN Act Complaint
 7/24/2023 Meltzer, Evelyn J           0.30 $     300.00 B191     Speaking with T. Diamond re WARN Act complaint
 7/24/2023 Molitor, Monica A.          0.10 $      39.00 B191     Email to co-counsel re ECF notifications re adv. proc. Vorel v. Christmas Tree Shops, LLC 23-50446 ECF to be forwarded from WL Bank server
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B191     Review E. Meltzer email re: removal deadline
 7/26/2023 Meltzer, Evelyn J           0.10 $     100.00 B191     Email to Committee re removal deadline
 7/27/2023 Molitor, Monica A.          0.10 $      39.00 B191     Email from E. Meltzer confirming Debtors won't seek to extend removal deadline
 7/28/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B191     Review M. Patterson and E. Meltzer emails re: challenge period extension
 7/28/2023 Meltzer, Evelyn J           0.10 $     100.00 B191     Emails to M. Conlan re WARN Act complaint
 7/28/2023 Molitor, Monica A.          0.10 $      39.00 B191     Obtain, review summons, notice of pretrial conference re Vorel v. Christmas Tree Shops
                                       2.10 $   1,654.00 B191     General Litigation
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B210     Review M. Moedritzer email re: TEKsystems invoice and staffed employee
 7/17/2023 Meltzer, Evelyn J           0.10 $     100.00 B210     Email to M. Kauffman re vendor inquiry
 7/18/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B210     Review M. Moedritzer email re: TEKsystems invoice and staffed employee
 7/18/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B210     Emails with M. Kaufman and E. Meltzer re: TEKsystems invoice and staffed employee
 7/21/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B210     Emails with M. Moedritzer and E. Meltzer re: TEKsystems invoice and staffed employee
 7/21/2023 Meltzer, Evelyn J           0.20 $     200.00 B210     Emails to M. Moedritzer re staff employee
 7/24/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B210     Review M. Moedritzer email re: TEKsystems staffed employee
 7/28/2023 Meltzer, Evelyn J           0.10 $     100.00 B210     Email to M. Kauffman re cars
 7/31/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B210     Email M. Kaufman re: 8/1 rent invoice
                                       1.00 $     904.00 B210     Business Operations
 7/17/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B211     Review E. Meltzer and M. Molitor emails re: June MOR
 7/17/2023 Meltzer, Evelyn J           0.10 $     100.00 B211     Email to M. Kauffman re June MOR
 7/17/2023 Molitor, Monica A.          0.20 $      78.00 B211     Email exchanges with E. Meltzer, co-counsel, M. Kaufman, M. McLaughlin Smith re MORs filed in June, 7.21 filing deadline for June MORs
 7/21/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B211     Emails with B. Ayers, M. Kaufman and E. Meltzer re: budget reporting
 7/21/2023 Meltzer, Evelyn J           0.30 $     300.00 B211     Speaking with M. Molitor re MORs
 7/21/2023 Meltzer, Evelyn J           0.10 $     100.00 B211     Speaking with M. Kauffman re MORs
 7/21/2023 Molitor, Monica A.          0.10 $      39.00 B211     Confer with E. Meltzer re respective June MORs, attachments to same




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 7/21/2023 Molitor, Monica A.          0.90 $    351.00 B211      Email exchanges with M. Kaufman, D. Defigueiredo, E. Meltzer re respective June MORs, attachments to same, edits to MORs and additional attachments needed

 7/21/2023 Molitor, Monica A.          0.90 $     351.00 B211     Review June MORs, attachments, compare against as-filed May MORs and attachments
 7/24/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B211     Review KCC team and M. Molitor emails re: service of June MORs
 7/24/2023 Meltzer, Evelyn J           0.10 $     100.00 B211     Reviewing SFT2 June MOR
 7/24/2023 Meltzer, Evelyn J           0.10 $     100.00 B211     Reviewing Handil LLC June MOR
 7/24/2023 Meltzer, Evelyn J           0.20 $     200.00 B211     Reviewing Handil Holdings LLC June MOR
 7/24/2023 Meltzer, Evelyn J           0.10 $     100.00 B211     Reviewing CTS June MOR
 7/24/2023 Meltzer, Evelyn J           0.10 $     100.00 B211     Reviewing Nantucket June MOR
 7/24/2023 Meltzer, Evelyn J           0.10 $     100.00 B211     Email to M. Molitor re June MORs
 7/24/2023 Molitor, Monica A.          0.30 $     117.00 B211     Email exchanges with M. Kaufman, D. Defigueiredo, E. Meltzer re updated SFT2 MOR and attachments, edits to respective MORs
 7/24/2023 Molitor, Monica A.          0.10 $      39.00 B211     Review updated SFT2 MOR and attachments
 7/24/2023 Molitor, Monica A.          0.20 $      78.00 B211     Email exchanges with E. Meltzer re Handil, LLC June MOR, attachments finalized for efiling
 7/24/2023 Molitor, Monica A.          0.10 $      39.00 B211     Email exchange with noticing agent re service of June MORs
 7/24/2023 Molitor, Monica A.          0.20 $      78.00 B211     Review, finalize Nantucket Distributing June MOR, attachments for efiling
 7/24/2023 Molitor, Monica A.          0.10 $      39.00 B211     Email from M. Kaufman re CTS June MOR, attachments
 7/24/2023 Molitor, Monica A.          0.20 $      78.00 B211     Finalize SFT2 June MOR, attachments, for efiling
 7/24/2023 Molitor, Monica A.          0.20 $      78.00 B211     Email exchanges with E. Meltzer re SFT2 June MOR, attachments, finalized for efiling
 7/24/2023 Molitor, Monica A.          0.20 $      78.00 B211     Review, finalize CTS June MOR, attachments for efiling
 7/24/2023 Molitor, Monica A.          0.20 $      78.00 B211     Email exchange with E. Meltzer re CTS June MOR, attachments finalized for efiling
 7/24/2023 Molitor, Monica A.          0.10 $      39.00 B211     Email from M. Kaufman re Handil Holdings, LLC June MOR, attachments
 7/24/2023 Molitor, Monica A.          0.20 $      78.00 B211     Review, finalize Handil, LLC June MOR, attachments for efiling
 7/24/2023 Molitor, Monica A.          0.10 $      39.00 B211     Email from M. Kaufman re Handil, LLC June MOR, attachments
 7/24/2023 Molitor, Monica A.          0.20 $      78.00 B211     Review, finalize Handil Holdings, LLC June MOR, attachments for efiling
 7/24/2023 Molitor, Monica A.          0.20 $      78.00 B211     Email exchanges with E. Meltzer re Handil Holdings June MOR, attachments finalized for filing
 7/24/2023 Molitor, Monica A.          0.10 $      39.00 B211     Email from M. Kaufman re Nantucket Distributing June MOR, attachments
 7/24/2023 Molitor, Monica A.          0.20 $      78.00 B211     Email exchanges with E. Meltzer re Nantucket Distributing June MOR, attachments finalized for efiling
 7/24/2023 Molitor, Monica A.          0.30 $     117.00 B211     Efile respective June MORs
 7/24/2023 Molitor, Monica A.          0.20 $      78.00 B211     Obtain respective as-filed June MORs
 7/25/2023 Molitor, Monica A.          0.10 $      39.00 B211     Email to M. Kaufman, D. Defigueiredo re respective as-filed June MORs
                                       7.10 $   3,636.00 B211     Financial Reports
  7/5/2023 Meltzer, Evelyn J           0.10 $     100.00 B212     Reviewing letter from Huntington National Bank re retrieval of equipment
  7/6/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B212     Review G. McDaniel and E. Meltzer emails re: Loomis safe issues
  7/6/2023 Meltzer, Evelyn J           0.10 $     100.00 B212     Email to G. McDaniel re Loomis safes
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B212     Emails with Company team and E. Meltzer re: Loomis pickup and sale issues
 7/10/2023 Meltzer, Evelyn J           0.10 $     100.00 B212     Email to M. Desgrosseilliers re Loomis equipment
 7/10/2023 Meltzer, Evelyn J           0.10 $     100.00 B212     Email to H. Murphy, C. Condon, et al. re Loomis equipment
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B212     Emails with J. Eisenhaure re: equipment return and proofs of claim
 7/13/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B212     Emails with G. McDaniel, M. Kaufman and E. Meltzer re: Loomis and budgeted amounts
 7/14/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B212     Review R. Li, MU Group, email re: requested goods resale authorization letter
 7/17/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B212     Review customer programs and store closing final orders re: Loomis safe removal procedures
 7/17/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B212     Email to and from E. Meltzer re: customer programs and store closing final orders re: Loomis safe removal procedures
 7/17/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B212     Emails with Company and MK teams and E. Meltzer re: final store closing order and Loomis safe removal procedures
 7/17/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B212     Emails with M. Kaufman and E. Meltzer re: R. Li, MU Group, email re: requested goods resale authorization letter
 7/17/2023 Meltzer, Evelyn J           0.10 $     100.00 B212     Email to M. Kauffman re Loomis equipment
 7/17/2023 Meltzer, Evelyn J           0.10 $     100.00 B212     Email to M. Smith re Loomis equipment
 7/24/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B212     Emails with M. Kaufman and E. Meltzer re: Loomis safe removals
 7/24/2023 Meltzer, Evelyn J           0.10 $     100.00 B212     Email to M. Kauffman re Loomis equipment
                                       1.70 $   1,540.00 B212     Vendor Issues
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B220     Review J. Chatman email re: PBGC inquiry re: defined benefit pension plan




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 7/18/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B220     Review C. Joselle email re: PBGC pension inquiry
 7/18/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B220     Review E. Meltzer email re: PBGC pension inquiry
 7/18/2023 Meltzer, Evelyn J           0.10 $     100.00 B220     Email to M. Kauffman re continued use of consultant
 7/18/2023 Meltzer, Evelyn J           0.10 $     100.00 B220     Email to M. Kauffman re PBGC
 7/19/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B220     Review M. Kaufman email re: PBGC pension inquiry
 7/19/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B220     Review E. Meltzer email response to C. Joselle re: PBGC pension inquiry
 7/19/2023 Meltzer, Evelyn J           0.10 $     100.00 B220     Email to PBGC re defined benefit plan
 7/20/2023 Meltzer, Evelyn J           0.10 $     100.00 B220     Email to M. Kauffman re TEK staffed employee
 7/24/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B220     Review C. Joselle and E. Meltzer emails re: PBGC pension inquiry
 7/24/2023 Meltzer, Evelyn J           0.10 $     100.00 B220     Email to PBGC re pension plan
                                       1.10 $   1,004.00 B220     Employee Benefits/Pensions
  7/5/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Telephone call with E. Meltzer re: status re: supplemental DIP order and go-forward plan
  7/5/2023 McLaughlin Smith, Marcy J   0.20 $     168.00 B230     Telephone call with E. Meltzer re: budget and sale status updates
  7/5/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Review C. Condon email w/ attachment re: draft GOB budget
  7/5/2023 Meltzer, Evelyn J           0.10 $     100.00 B230     Reviewing email from landlords re proposed DIP resolution
  7/5/2023 Meltzer, Evelyn J           0.30 $     300.00 B230     Reviewing Restore reply re supplemental DIP order
  7/6/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Telephone call with E. Meltzer re: budget update
  7/6/2023 Meltzer, Evelyn J           0.30 $     300.00 B230     Reviewing budget
  7/7/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Review and respond to L. Muchnik email re: revised supplemental DIP order
 7/10/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Emails with Company and E. Meltzer re: budget
 7/10/2023 Meltzer, Evelyn J           0.20 $     200.00 B230     Email to M. Salkovitz re revised budget
 7/10/2023 Meltzer, Evelyn J           0.10 $     100.00 B230     Email to M. Ward re revised budget
 7/10/2023 Meltzer, Evelyn J           0.10 $     100.00 B230     Email to H. Murphy re revised DIP budget
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Review L. Roglen and G. Galardi emails re: status of supplemental DIP motion and budget
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Telephone call with E. Meltzer re: status of budget and 7/12 hearing
 7/11/2023 McLaughlin Smith, Marcy J   0.40 $     336.00 B230     Conference call with H. Murphy, C. Condon and E. Meltzer re: budget status and next steps re: 7/12 hearing
 7/11/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Review I. Fredericks email w/ attachment re: revised budget
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Review revised budget
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Emails with G. Galardi and E. Meltzer re: revised budget
 7/12/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Further emails with lenders, lenders counsel, Company, MK team and E. Meltzer re: revised budget
 7/12/2023 Meltzer, Evelyn J           0.20 $     200.00 B230     Reviewing emails re DIP budget
 7/13/2023 McLaughlin Smith, Marcy J   0.20 $     168.00 B230     Telephone call with L. Muchnik and E. Meltzer re: DIP order and budget status
 7/13/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Telephone call with C. Condon re budget and order for hearing circulation
 7/13/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Email UST, objecting landlord counsel and UCC counsel re: proposed budget for hearing
 7/13/2023 McLaughlin Smith, Marcy J   0.40 $     336.00 B230     Conference with E. Meltzer re: hearing prep and status of open items
 7/13/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Emails with lenders counsel, MK team and E. Meltzer re: final supplemental DIP order and budget
 7/13/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Emails with Company and MK team, E. Meltzer and M. Molitor re re: final supplemental DIP order and budget and COC re: same
 7/13/2023 McLaughlin Smith, Marcy J   0.10 $      84.00 B230     Review and respond to J. Thomson email re: service of supplemental DIP order and COC re: same
 7/13/2023 Meltzer, Evelyn J           0.30 $     300.00 B230     Speaking with M. Kauffman re DIP budget
 7/13/2023 Meltzer, Evelyn J           0.60 $     600.00 B230     Reviewing revised supplemental DIP order
 7/13/2023 Meltzer, Evelyn J           0.40 $     400.00 B230     Speaking with H. Murphy re supplemental DIP order
 7/13/2023 Meltzer, Evelyn J           0.40 $     400.00 B230     Email to H. Murphy and C. Condon re comments to DIP budget and order
 7/13/2023 Meltzer, Evelyn J           0.30 $     300.00 B230     Reviewing emails re comments to DIP order
 7/13/2023 Meltzer, Evelyn J           0.30 $     300.00 B230     Speaking with B. Friedman re DIP order
 7/13/2023 Meltzer, Evelyn J           0.50 $     500.00 B230     Speaking with M. Smith re DIP order
 7/13/2023 Meltzer, Evelyn J           0.20 $     200.00 B230     Speaking with L. Muchnik re submitting revised order to Court
 7/13/2023 Meltzer, Evelyn J           0.10 $     100.00 B230     Speaking with M. Molitor re COC for DIP order
 7/13/2023 Meltzer, Evelyn J           0.10 $     100.00 B230     Email to M. Molitor re final DIP order and budget
 7/13/2023 Meltzer, Evelyn J           0.10 $     100.00 B230     Email to M. Kauffman re payments to Loomis under DIP budget
 7/13/2023 Meltzer, Evelyn J           0.10 $     100.00 B230     Email to L. Muchnik re final DIP order and budget




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 7/13/2023 Meltzer, Evelyn J            0.10 $     100.00 B230     Email to M. Kauffman re final DIP budget
 7/13/2023 Meltzer, Evelyn J            0.10 $     100.00 B230     Reviewing further revised DIP order
 7/13/2023 Meltzer, Evelyn J            0.10 $     100.00 B230     Email to C. Condon re COC for final DIP order
 7/13/2023 Meltzer, Evelyn J            0.10 $     100.00 B230     Speaking with M. Molitor re budget to attach to DIP order
 7/13/2023 Meltzer, Evelyn J            0.10 $     100.00 B230     Final review of order and budget for filing
 7/13/2023 Molitor, Monica A.           0.20 $      78.00 B230     Email exchange with E. Meltzer re COC re supplemental DIP order
 7/13/2023 Molitor, Monica A.           0.10 $      39.00 B230     Confer with E. Meltzer re revised DIP budget for supplemental DIP order
 7/13/2023 Molitor, Monica A.           0.10 $      39.00 B230     Efile COC re supplemental DIP order
 7/13/2023 Molitor, Monica A.           0.20 $      78.00 B230     Finalize supplemental DIP order, Ex. 1 for ECF upload
 7/13/2023 Molitor, Monica A.           0.10 $      39.00 B230     Upload supplemental DIP order, ex. 1 via ECF
 7/13/2023 Molitor, Monica A.           0.10 $      39.00 B230     Obtain as-filed COC re supplemental DIP order
 7/13/2023 Molitor, Monica A.           0.20 $      78.00 B230     Email exchanges with E. Meltzer, M. McLaughlin Smith re revised budget as Ex. 1 to supplemental DIP order
 7/13/2023 Molitor, Monica A.           0.80 $     312.00 B230     Email exchanges with E. Meltzer, co-counsel, lender counsel, client re supplemental DIP order, budget re same
 7/13/2023 Molitor, Monica A.           0.10 $      39.00 B230     Finalize COC, Ex. A re supplemental DIP order for efiling
 7/13/2023 Molitor, Monica A.           0.20 $      78.00 B230     Email exchanges with E. Meltzer, M. McLaughlin Smith re Ex. A to COC re supplemental DIP order
 7/13/2023 Molitor, Monica A.           0.30 $     117.00 B230     Revise, finalize, scan revised budget for upload as Ex. 1 to supplemental DIP order
 7/14/2023 Molitor, Monica A.           0.10 $      39.00 B230     Emails from noticing agent, M. McLaughlin Smith re service of COC, final supplemental DIP order
 7/14/2023 Molitor, Monica A.           0.20 $      78.00 B230     Review final supplemental DIP order re critical dates
 7/14/2023 Molitor, Monica A.           0.30 $     117.00 B230     Email exchanges with E. Meltzer, M. McLaughlin Smith re critical dates pursuant to final supplemental DIP order
 7/17/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B230     Review E. Meltzer email w/ attachment re: UCC stipulation re: extended Pathlight challenge period
 7/17/2023 Meltzer, Evelyn J            0.10 $     100.00 B230     Reviewing stipulation extending Committee challenge period
 7/17/2023 Meltzer, Evelyn J            0.10 $     100.00 B230     Email to H. Murphy and C. Condon re stipulation extending committee challenge period
 7/17/2023 Meltzer, Evelyn J            0.10 $     100.00 B230     Email to M. Patterson re stipulation extending committee challenge period
 7/18/2023 Molitor, Monica A.           0.10 $      39.00 B230     Obtain, review order approving stipulation extending Committee challenge deadline to 7.21
 7/20/2023 Meltzer, Evelyn J            0.10 $     100.00 B230     Reviewing stipulation extending Committee challenge period
 7/20/2023 Meltzer, Evelyn J            0.10 $     100.00 B230     Email to M. Paterson re Committee challenge period
 7/28/2023 Meltzer, Evelyn J            0.10 $     100.00 B230     Emal to M. Patterson re 3rd challenge stipulation
                                       11.80 $   9,445.00 B230     Financing/Cash Collections
 7/24/2023 Meltzer, Evelyn J            0.10 $     100.00 B240     Email to M. Kauffman re unpaid taxes
                                        0.10 $     100.00 B240     Tax Issues
 7/11/2023 Molitor, Monica A.           0.10 $      39.00 B241     Obtain, review Certain Utility Companies notice of withdrawal of objection to utilities motion
                                        0.10 $      39.00 B241     Utility Issues
  7/3/2023 Meltzer, Evelyn J            0.10 $     100.00 B310     Email to E. Schnitzer re Prestige admin claim
  7/4/2023 Meltzer, Evelyn J            0.10 $     100.00 B310     Email to creditor re bar date
 7/10/2023 Molitor, Monica A.           0.10 $      39.00 B310     Obtain, review Huntington National Bank motion for administrative expense claim
 7/11/2023 Molitor, Monica A.           0.10 $      39.00 B310     Obtain, review order granting Prestige Patio motion to compel payment of adminstrative expense
 7/12/2023 McLaughlin Smith, Marcy J    0.10 $      84.00 B310     Emails with C. Condon, E. Meltzer and M. Molitor re: Parampara admin expense claim motion
 7/12/2023 Meltzer, Evelyn J            0.10 $     100.00 B310     Email to C. Condon re Parampara Admin motion
 7/12/2023 Molitor, Monica A.           0.20 $      78.00 B310     Email exchanges with C. Condon, E. Meltzer, M. McLaughlin Smith re Debtor extended response deadline re Parampara administrative Expense application, status re
                                                                   same
 7/12/2023 Molitor, Monica A.           0.10 $     39.00 B310      Email to E. Meltzer, M. McLaughlin Smith re Debtor response to Parampara administrative Expense application
 7/13/2023 Meltzer, Evelyn J            0.20 $    200.00 B310      Speaking with counsel for terminated employee re claims
 7/14/2023 McLaughlin Smith, Marcy J    0.10 $     84.00 B310      Emails with C. Condon, E. Meltzer and M. Molitor re: objection deadline re: Parampara admin expense motion
 7/14/2023 McLaughlin Smith, Marcy J    0.50 $    420.00 B310      Telephone call with E. Meltzer re: status of various admin expense motions and open item list
 7/14/2023 McLaughlin Smith, Marcy J    0.10 $     84.00 B310      Review B. Roy email re: Riverhead stub rent
 7/14/2023 Molitor, Monica A.           0.20 $     78.00 B310      Email exchanges with E. Meltzer, C. Condon, M. McLaughlin Smith re Parampara motion to compel payment of administrative expense
 7/14/2023 Molitor, Monica A.           0.10 $     39.00 B310      Obtain, review Achim Importing, Inc. motion to compel payment of administrative expense claim
 7/17/2023 McLaughlin Smith, Marcy J    0.10 $     84.00 B310      Emails with B. Roy and E. Meltzer re: Riverhead stub rent
 7/17/2023 Meltzer, Evelyn J            0.20 $    200.00 B310      Speaking with creditor re filing admin claim
 7/18/2023 McLaughlin Smith, Marcy J    0.10 $     84.00 B310      Emails with C. Condon and internal team re: Parampara admin expense motion




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 7/18/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Review and respond to E. Meltzer email re: pending admin expense motions
 7/18/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Email to M. Smith re admin motions
 7/18/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Reviewing objection to Parampara admin motion
 7/18/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Email to L. O'Farrell re objection to Parampara admin motion
 7/18/2023 Molitor, Monica A.          0.20 $    78.00 B310      Email exchanges with E. Meltzer, M. McLaughlin Smith, C. Condon re Debtors' 7.19 extended response deadline re Parampara motion to compel payment of
                                                                 administrative expense
 7/19/2023 McLaughlin Smith, Marcy J   0.10 $   84.00   B310     Email MK team re: status of objection to Parampara admin expense motion
 7/19/2023 McLaughlin Smith, Marcy J   0.10 $   84.00   B310     Email to and from C. Condon re: requested objection deadline extension re: Parampara admin expense motion
 7/19/2023 McLaughlin Smith, Marcy J   0.10 $   84.00   B310     Emails with S. Humiston and C. Condon re: requested objection deadline extension re: Parampara admin expense motion
 7/19/2023 Molitor, Monica A.          0.20 $   78.00   B310     Email exchanges with C. Condon, M. McLaughlin re Debtors' extended response deadline to Parampara motion to compel payment of administrative expense to
                                                                 7.31
 7/19/2023 Molitor, Monica A.          0.10 $    39.00 B310      Emails from L. O'Farrell, E. Meltzer re Debtors' response to Parampara motion to compel payment of administrative expense
 7/20/2023 McLaughlin Smith, Marcy J   0.20 $   168.00 B310      Review Huntingdon admin expense motion
 7/20/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Voicemail to A. Brown re: Huntington admin expense motion
 7/20/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Telephone call with A. Brown re: Huntington admin expense motion
 7/20/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Email A. Brown re: objection deadline extension re: Huntington admin expense motion
 7/20/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Email E. Meltzer re: Huntington admin expense motion objection deadline
 7/20/2023 McLaughlin Smith, Marcy J   0.20 $   168.00 B310      Email M. Kaufman re: Huntington admin expense motion
 7/20/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Email to M. Smith re extension of response deadline for Huntington Bank Admin Expense Motion
 7/20/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Email to G. Davis re admin claims
 7/20/2023 Molitor, Monica A.          0.10 $    39.00 B310      Email from M. McLaughlin Smith re Debtors' extended objection deadline re Huntington National Bank motion for administrative expense claim from 7.24 to 8.4

 7/21/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Review and respond to L. O'Farrell email re: Huntington admin expense motion
 7/21/2023 Meltzer, Evelyn J           0.20 $   200.00 B310      Speaking with R. Mauceri re admin claim
 7/21/2023 Molitor, Monica A.          0.10 $    39.00 B310      Obtain, review Conopco, Inc. dba Unilever United States motion to compel payment of administrative expense claim
 7/24/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Emails with L. Scott and E. Meltzer re: notice of address change re: Prestige Patio
 7/24/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Email M. Kaufman re: Huntington Bank admin expense motion
 7/25/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Review E. Meltzer email re: Conopco admin expense motion
 7/25/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Review E. Meltzer email re: Achim admin expense motion
 7/25/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Emails with M. Kaufman and E. Meltzer re: Huntington Bank admin expense motion
 7/25/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Review Company team and E. Meltzer emails re: Levin admin expense motion
 7/25/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Email M. Desgrosseilliers re: Levin admin expense motion and Bridgewater store location sale termination date
 7/25/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Email to M. Kauffman re Huntington Bank Admin Expense Motion
 7/25/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Reviewing Achim Admin Motion
 7/25/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Email to M. Kauffman re Achim Admin Motion
 7/25/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Reviewing Levin Admin Motion
 7/25/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Email to M. Kauffman re Levin Admin Motion
 7/25/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Reviewing Conopco Admin Claim motion
 7/25/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Email to M. Kauffman re Conopco Admin Claim Motion
 7/25/2023 Molitor, Monica A.          0.10 $    39.00 B310      Email exchange with E. Meltzer re Debtors' extended response deadline of 7/31 re Parampara motion to compel payment of administrative claim

 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Review and respond to M. Desgrosseilliers email re: Levin admin expense motion and Bridgewater store location sale termination date
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Emails with Company team and E. Meltzer emails re: Levin admin expense motion and store location sale termination date
 7/26/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Review E. Meltzer and T. Onder, Levin counsel, emails re: Levin admin expense motion
 7/26/2023 Molitor, Monica A.          0.10 $    39.00 B310      Email, Outlook invite to S. Henry re Debtors' extended deadline of 7/31 in response to Parampara M. to Compel re Admin. Expense
 7/28/2023 Meltzer, Evelyn J           0.10 $   100.00 B310      Email to L. O'Farrell re Parampara admin claim
 7/31/2023 Henry, Susan M              0.20 $    78.00 B310      Prepare e-mails to M. Smith re objection to Parampara administrative expense motion
 7/31/2023 Henry, Susan M              0.20 $    78.00 B310      File objection to Parampara administrative expense motion
 7/31/2023 Henry, Susan M              0.10 $    39.00 B310      Prepare e-mail to KCC re service of objection to Parampara administrative expense motion
 7/31/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Telephone call with E. Meltzer re: Huntington admin expense/stay relief motion
 7/31/2023 McLaughlin Smith, Marcy J   0.10 $    84.00 B310      Emails with M. Kaufman re: Huntington admin expense and stay relief motion




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 7/31/2023 McLaughlin Smith, Marcy J   0.10 $     84.00 B310      Emails with L. O'Farrell and E. Meltzer re: Parampara admin expense motion and objection to same
 7/31/2023 McLaughlin Smith, Marcy J   0.10 $     84.00 B310      Review objection to Parampara admin expense motion
 7/31/2023 McLaughlin Smith, Marcy J   0.10 $     84.00 B310      Emails with S. Henry re: objection to Parampara admin expense motion
 7/31/2023 McLaughlin Smith, Marcy J   0.10 $     84.00 B310      Emails with E. Meltzer re: Huntington admin expense/stay relief motion
 7/31/2023 McLaughlin Smith, Marcy J   0.10 $     84.00 B310      Email M. Kaufman re: Conopco admin expense request
 7/31/2023 McLaughlin Smith, Marcy J   0.10 $     84.00 B310      Email M. Kaufman re: Achim admin expense request
 7/31/2023 McLaughlin Smith, Marcy J   0.40 $    336.00 B310      Email A. Brown re: Huntington admin expense/stay relief motion
 7/31/2023 Meltzer, Evelyn J           0.10 $    100.00 B310      Email to counsel for Levin re admin motion
 7/31/2023 Meltzer, Evelyn J           0.20 $    200.00 B310      Speaking to L. O'Farrell re Parampara admin motion
 7/31/2023 Molitor, Monica A.          0.30 $    117.00 B310      Email exchanges with E. Meltzer, L. O'Farrell, M. McLaughlin Smith, S. Henry re Debtor response to Paramara motion to compel payment of administrative expense
                                                                  claim
                                       9.50 $   7,255.00 B310     Claims Administration and Objections
 7/24/2023 Meltzer, Evelyn J           0.20 $     200.00 B460     Emails to M. Kauffman re Debtors' D&O policies
 7/25/2023 Meltzer, Evelyn J           0.10 $     100.00 B460     Email to Committee re D&O insurance policy
 7/26/2023 Meltzer, Evelyn J           0.10 $     100.00 B460     Email to M. Kauffman re excess D&O policy
 7/26/2023 Meltzer, Evelyn J           0.10 $     100.00 B460     Email to M. Patterson re excess D&O policy
 7/26/2023 Meltzer, Evelyn J           0.10 $     100.00 B460     Email to M. Kauffman re insurance for slip and fall
                                       0.60 $     600.00 B460     Other - Insurance Matters




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